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                         THE UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUESETTS


 VAL KAY, Derivatively on Behalf of                 Case No.
 Nominal Defendant XL FLEET CORP.,

                 Plaintiff,                         VERIFIED STOCKHOLDER
       v.                                           DERIVATIVE COMPLAINT

 DEB FRODL, ERIC TECH, KEVIN
 GRIFFIN, CHRIS HAYES, JOHN                         JURY TRIAL DEMANDED
 LEDECKY, SARA SCLARSIC, JOHN
 MILLER, H.R BRADY, DIMITRI
 KAZARINOFF, THOMAS J. HYNES III,
 AND BRIAN PIERN,

                 Defendants,
       And


 XL FLEET CORP.

                 Nominal Defendant.


       Plaintiff Val Kay (“Plaintiff”), by and through her undersigned attorneys, brings this

derivative complaint for the benefit of nominal defendant XL Fleet Corp. (“XL Fleet”, “XL” or

the “Company”), against its Board of Directors (the “Board”) and certain of its executive officers

seeking to remedy defendants’ breaches of fiduciary duties and violations of Sections 10(b) and

21D of the Securities Exchange Act of 1934 (the “Exchange Act”). Plaintiff’s allegations are

based upon his personal knowledge as to himself and his own acts, and upon information and

belief, developed from the investigation and analysis by Plaintiff’s counsel, including a review of

publicly available information, including filings by XL Fleet with the U.S. Securities and

Exchange Commission (“SEC”), press releases, news reports, analyst reports, investor conference

transcripts, publicly available filings in lawsuits, and matters of public record.
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                         NATURE AND SUMMARY OF THE ACTION

        1.      This is a shareholder derivative action that seeks to remedy wrongdoing committed

by XL’s directors and officers from October 2, 2020 and the present (the “Relevant Period”).

                                   JURISDICTION AND VENUE

        2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 10(b) of the Exchange Act (15 U.S.C. §

78j(b)) and Section 21D of the Exchange Act (15 U.S.C. § 78u-4(f)).

        3.      Plaintiff’s claims also raise a federal question pertaining to the claims made in the

securities class actions entitled In re XL Fleet Corp. Securities Litigation, Case No. 1:21-cv-02002-

LGS (S.D.N.Y.) (the “Securities Class Action”) based on violations of the Exchange Act. This

Court has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. § 1367(a).

        4.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because a

substantial portion of the transactions and wrongs complained of herein occurred in this District,

and Defendants have received substantial compensation in this district by engaging in numerous

activities that had an effect in this District.

                                                  PARTIES

Plaintiff

        5.      Plaintiff Val Kay purchased shares of XL Fleet stock and continues to hold his XL

Fleet stock.

Nominal Defendant

        6.      Nominal Defendant XL Fleet is incorporated under the laws of Delaware with its

principal executive offices located in Boston, Massachusetts.



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Defendants

       6.     Defendant Deb Frodl (“Frodl”) serves as XL Fleet Chairman and a member of the

Board of Directors (“Board”). Defendant Frodl is also a member of the Audit Committee.

Defendant Frodl is also the Chair of the Nominating and Corporate Governance Committee.

       7.     Defendant Eric Tech (“Tech”) is the Chief Executive Officer (“CEO”) and a

member of the Board.

       8.     Defendant Kevin Griffin (“Griffin”) is a member of XL Fleet’s Board. Defendant

Griffin served as a Director of Pivotal prior to the Merger and remains on the post-merger XL

Fleet Board. Defendant Griffin, at all relevant times, was the CEO of MGG Investment Group,

LP, an affiliate of Pivotal Spac Funding II LLC (the Sponsor’s other managing member, where

Griffin was the CEO and a Director). Also, Griffin was at all relevant times the CEO and Chief

Investment Officer of MGG Special Opportunities Fund LP, which purchased Pivotal shares in the

PIPE Transaction and is also an affiliate of Pivotal Spac Funding II LLC. Defendant Griffin was

also a Director of Pivotal I and remains in that role following Pivotal I’s de-SPAC merger, and is

the CEO, President, and a Director of Pivotal III.      Defendant Griffin is a member of the

Compensation Committee.

       9.     Defendant Chris Hayes (“Hayes”) is a member of XL Fleet’s Board. Defendant

Hayes is the Chairman of the Compensation Committee. Defendant Hayes is a member of the

Nominating and Corporate Governance Committee.

       10.    Defendant John Ledecky (“Ledecky”) is a member of XL Fleet’s Board.

Defendant Ledecky was the Chairman, and CEO of Pivotal. Defendant Ledecky remains on XL

Fleet’s post-merger Board. Defendant Ledecky is the Chairman of Ironbound Partners Fund, LLC,

which was one of the Sponsor’s two managing members. Defendant Ledecky is a prolific SPAC



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founder, having launched numerous such entities and raised more than $1 billion dollars since

2005. Defendant Ledecky was the Chairman and CEO of the first SPAC in his “Pivotal” line,

Pivotal Acquisition Corp. (“Pivotal I”), until that Company’s deSPAC merger.          Defendant

Ledecky is also currently the Chairman of Pivotal Investment Corporation III (“Pivotal III”)

       11.    Defendant Sara Sclarsic (“Sclarsic”) served as a member of the Board prior to the

Merger and remains on the post-merger XL Fleet Board. Defendant Sclarsic is a current Director

of Pivotal III. Defendant Sclarsic is also a member of the Audit Committee.

       12.    Defendant John Miller (“Miller”) is a member of XL Fleet’s Board. Defendant

Miller is the Chairman of the Audit Committee.          Defendant Miller is a member of the

Compensation Committee. Defendant Miller is a member of the Nominating and Corporate

Governance Committee.

       13.    Defendants Frodl, Tech, Griffin, Hayes, Ledecky, Sclarsic and Miller are herein

referred to as the “Director Defendant”.

Other Defendants

       14.    Defendant James H.R. Brady (“Brady”) has served as Pivotal’s Chief Financial

Officer (“CFO”) since September 2018. Brady participated in Merger negotiations, signed the

Merger Agreement, signed or authorized the signing or filing of the September 18, 2020 Form 8-

K and the attached exhibits, including the September 18, 2020 press release, the October 2, 2020

Registration Statement and the November 12, 2020 and December 1, 2020 amendments thereto,

and the related December 8, 2020 Proxy/Prospectus. Since 2014, Defendant Brady was the CEO

of Brady Enterprises, which provides financial, legal and strategic services to growth companies

       15.    Defendant Dimitri Kazarinoff (“Kazarinoff”) was the Chief Executive Officer

(“CEO”) of XL Hybrids and became CEO of XL Fleet following the Merger.



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       16.     Defendant Thomas J. Hynes III (“Hynes”) is the current President of XL Fleet and

was, at the time the Merger was being negotiated, the founder and Chief Strategy Officer of Legacy

XL. Prior to the merger, Defendant Ledecky had a “decades long relationship” with Defendant

Hynes’s family, and Defendants Ledecky and Hynes had been “business acquaintances” for ten

(10) years.

       17.     Defendant Brian Piern (“Piern”) was XL’s Vice President of Sales and Marketing

from January 2019 through May 2021. During his time at XL, Piern initially reported to Hynes

and later reported to Kazarinoff. Prior to Piern’s employment at XL, he served as Senior Vice

President of Sales at Element Fleet Management from September 2015 to December 2018.

       18.     Defendants Ledecky, Brady, and Griffin are referred to herein, collectively, as the

“Pivotal Individual Defendants.”

       19.     Defendants Hynes, Kazarinoff and Piern are referred to herein, collectively, as the

“XL Individual Defendants.”

       20.     The Director Defendants, the Pivotal Individual Defendants and the XL Individual

Defendants are collectively referred to herein as the “Individual Defendants”. The Individual

Defendants were provided with copies of the Company’s reports and press releases alleged herein

to be misleading prior to, or shortly after, their issuance and had the ability and opportunity to

prevent their issuance or cause them to be corrected. Because of their positions and access to

material non-public information available to them, the Individual Defendants knew that the

adverse facts specified herein had not been disclosed to, and were being concealed from, the public,

and that the positive representations which were being made were then materially false and/or

misleading. The Individual Defendants are liable for the false statements pleaded herein.

                           THE AUDIT COMMITTEE CHARTER



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       21.      The purpose of the Audit Committee is to assist the Board in its oversight of the

quality and integrity of XL Fleet’s financial statements, XL Fleet’s compliance with legal and

regulatory requirements, and the qualifications, performance and independence of the external

auditors.

       22.      The Audit Committee Charter provides:

       RESPONSIBILITIES

       The Committee shall have the following responsibilities; provided, however, that
       this list of responsibilities is intended to be a guide and to remain flexible to account
       for changing circumstances and needs. Accordingly, the Committee may depart
       from or supplement such responsibilities, and establish policies and procedures, to
       the extent permitted by applicable law and stock exchange listing requirements.

       Financial Review and Disclosure:

       1. Annual Audit Results. The Committee will review with management and the
       Auditors the results of the Company’s annual financial statement audit, including:

       •        the Auditors’ assessment of the quality of the Company’s accounting
                principles and practices;

       •        the Auditors’ views about qualitative aspects of the Company’s significant
                accounting practices and the reasonableness of significant judgments and
                estimates (including material changes in estimates and analyses of the
                effects of alternative generally accepted accounting principles (“GAAP”)
                methods on the financial statements);

       •        all known and likely misstatements identified during the audit (other than
                those the Auditors believe to be trivial);

       •        the adequacy of the disclosures in the financial statements; and

       •        any other matters that the Auditors must communicate to the Committee
                under applicable accounting or auditing standards.

       2.       Audited Financial Statement Review; Quarterly and Annual Reports.
                The Committee will review the annual audited financial statements, the
                quarterly financial statements and the Company’s “Management’s
                Discussion and Analysis of Financial Condition and Results of Operations”
                and “Risk Factors,” as appropriate, with management and the Auditors. The
                Committee will be responsible for recommending to the Board whether the

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        proposed annual audited financial statements should be included in the
        Company’s Annual Report on Form 10-K.

            CORPORATE GOVERNANCE GUIDELINES

23.     The Company’s Corporate Governance Guidelines provide:

XL FLEET CORP.

CORPORATE GOVERNANCE GUIDELINES

The Board of Directors (the “Board”) of XL Fleet Corp. (the “Company”), which
is elected by the stockholders, is the ultimate decision-making body of the
Company, except with respect to matters reserved to the stockholders. The Board
has adopted the following Corporate Governance Guidelines (the “Guidelines”) to
assist the Board in the exercise of its duties and responsibilities and to serve the
best interests of the Company and its stockholders. The Guidelines should be
applied in a manner consistent with all applicable laws and stock exchange rules
and the Company’s charter and bylaws, each as amended and in effect from time to
time. The Guidelines are generally intended to serve as a flexible framework for
the conduct of the Board’s business and not as a set of legally binding obligations;
consequently, the Board may exercise its judgment in conducting its business and
shall not be bound by these Guidelines, other than with respect to matters that are
required by applicable law or regulation. In addition, the Board may modify or
make exceptions to the Guidelines from time to time in its discretion and consistent
with its duties and responsibilities to the Company and its stockholders.

                                        ***

B.      Director Responsibilities

The principal responsibility of the directors is to oversee the management of the
Company and, in so doing, to exercise their business judgment to act in a manner
which they reasonably believe to be in the best interests of the Company and its
stockholders. This responsibility includes:

•       Evaluating the performance of the Company and reviewing and approving
        fundamental operating, financial and other corporate plans, strategies and
        objectives.
•       Selecting and evaluating the performance of the Chief Executive Officer
        (“CEO”) and developing policies and principles for CEO selection and
        performance review, as well as policies regarding CEO succession.
•       Reviewing the Company’s policies and practices with respect to risk
        assessment and risk management.
•       Providing advice and assistance to the CEO and other senior executives of
        the Company.

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       •       Evaluating the overall effectiveness of the Board and its committees.
       •       Establishing the form and amount of compensation for Directors. Directors
               are expected (i) to regularly attend all meetings of the Board and all
               meetings of committees on which they serve and (ii) to prepare for all
               meetings and to review the materials that are sent out in advance of those
               meetings.

               Directors are also expected to spend the necessary time to discharge their
               responsibilities appropriately and to ensure that other existing or future
               commitments do not materially interfere with their responsibilities as
               members of the Board.

                              SUBSTANTIVE ALLEGATIONS

A.     Special Purpose Acquisition Companies (“SPAC”)

       24.     A “blank check company” is a company that has no specific established business

plan or has indicated that its business plan is to engage in a merger or acquisition with an

unidentified company, entity or person. One type of blank check company is a special purpose

acquisition company, or SPAC.

       25.     A SPAC is a publicly-traded company created specifically to pool funds through an

initial public offering for the purpose of completing an acquisition or other business combination

with an existing company.

       26.     In order to create a SPAC, founders must invest the initial capital to recruit an

investment bank to structure capital raising terms, prepare and file initial public offering

documentation, and pre-market the investment offering to interested investors. A target company

cannot be identified before the SPAC initial public offering is completed. Once capital is raised

through the initial public offering, the proceeds must be deposited into a trust account. An

appointed management team then has a specified time period to identify an appropriate target to

complete the merger or acquisition.




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       27.     Common stockholders of the SPAC are granted voting rights to approve or reject

the business combination proposed by the management team. When the management team

identifies a target, a merger proxy statement must be distributed to all SPAC stockholders, which

includes the target company’s complete audited financials and the terms of the proposed business

combination. Stockholders in SPACs depend on management to honestly provide accurate

information about any contemplated transactions.

       28.     A SPAC shareholder may vote for or against a proposed business combination. A

SPAC shareholder may decide to retain ownership of his or her SPAC shares, may request that the

SPAC redeem their shares for his or her proportionate interest in the SPAC’s trust funds, or may

sell his or her shares on the open market.

       29.     If a merger or acquisition is successfully made within the allocated time frame,

shareholders and management of the SPAC can profit through their ownership of the common

stock and any related securities. However, if an acquisition is not completed within the time period

specified when the SPAC is organized, then the SPAC is automatically dissolved and the money

held in trust is returned back to investors. No salaries, finder’s fees or other cash compensation

are paid to the founders and/or management team if they fail to consummate a successful business

combination.

       30.     The founders and management team of a SPAC, who typically own 20% of the

company through founders’ shares and invest significant resources in the formation of the

company and identifying acquisition targets, are highly incentivized to complete a qualifying

transaction approved within the operating deadline.

       31.     Numerous commentators have noted the conflict of interest between SPAC

management and shareholders with respect to the completion of a business combination. For



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instance, in a paper forthcoming in the Yale Journal on Regulation, law professors at Stanford and

New York University address “misaligned incentives inherent in the SPAC structure,” including

that “the sponsor has an incentive to enter into a losing deal for SPAC investors if its alternative

is to liquidate.”1 Based on empirical research of post-merger returns to SPAC shareholders, that

paper goes on to conclude that “SPAC sponsors have proposed losing propositions to their

shareholders, which is one of the concerns raised by the incentives built into the SPAC structure.

. . . [S]ponsors do quite well, even where SPAC shareholders have experienced substantial losses.”

       32.     As set forth herein, Pivotal and XL Fleet exemplify the inherent conflicts with

SPACs. Defendants were incentivized to persuade public investors to consummate the Business

Combination between Pivotal and XL Fleet that was not in investors’ best interests, by making

material misstatements and omissions about XL Hybrids’ business.

B.     Background Of Pivotal

       33.     Pivotal was a blank check company organized for the purpose of effecting a merger,

share exchange, asset acquisition, stock purchase, recapitalization, reorganization, or other similar

business combination with one or more businesses or entities. Pivotal’s Sponsor was Pivotal

Investment, whose members are Ironbound Partners, an affiliate of Ledecky, and Pivotal Spac

Funding II LLC, an affiliate of Griffin.

       34.     Pivotal was led by its Chairman and CEO, Ledecky, a seasoned businessman with

over 35 years of investment and operational experience. Ledecky had executed hundreds of

acquisitions across multiple industries, including through several other blank check companies,

and raised over $20 billion in debt and equity.




1
       Klausner, Michael D. and Ohlrogge, Michael and Ruan, Emily, A Sober Look at SPACs (Oct. 28,
2020) Yale Journal on Regulation, Forthcoming, available at: https://ssrn.com/abstract=3720919.

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       35.     Griffin served as a director of Pivotal. Griffin also served as the CEO of Pivotal

Spac Funding II LLC, one of the members of the Sponsor. Griffin was also the CEO and CIO of

MGG Investment Group, LP, a private investment firm managing long-term committed capital on

behalf of leading endowment, foundation, pension, insurance and high net worth investors

globally. Over the course of Griffin’s career, he originated and invested over $4 billion across the

capital structure of middle market businesses and served on numerous boards of directors.

       36.     Pivotal was incorporated on March 20, 2019 and on April 25, 2019 it filed a Draft

Registration Statement with the SEC. The Registration Statement for its Class A common stock

and warrants was filed with the SEC on Form S-1 on June 7, 2019, and on July 11, 2019, it was

declared effective. On July 15, 2019, Pivotal’s final Prospectus (the “July 2019 Prospectus”) was

filed with the SEC, and on July 16, 2019, Pivotal completed its IPO.

       37.     Pivotal stated in its July 2019 Prospectus:

       While we may pursue an initial business combination target in any industry or
       geographic location, we intend to focus our search on companies in North America
       in industries ripe for disruption from continuously evolving digital technology and
       the resulting shift in distribution patterns and consumer purchase behavior. Most of
       these middle market and emerging growth companies will ultimately need to
       consolidate to achieve the scale necessary to attain high revenue growth and
       attractive profitability. We believe that acquiring a leading, high-growth
       participant will provide a public currency to fund consolidation and fuel growth.
       Segments we might explore include, but are not limited to, logistics technology and
       “last mile” delivery services, business technology services, online cyber security
       and off-line physical security services, media and entertainment services and
       franchise businesses.

       38.     The July 2019 Prospectus further stated: “[w]hile we may pursue an initial business

combination target in any industry or geographic location, we intend to focus our search on

companies exploiting disruptive smart phone technology and the resultant rapidly changing

distribution patterns and evolving consumer purchase behavior.”




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       39.    Pivotal’s July 2019 Prospectus claimed: “we possess several competitive strengths

to successfully source, evaluate and execute an initial business combination. We believe that the

background, operating history and experience of our management team and special advisors have

equipped us not only to provide access to a broad spectrum of investment opportunities, but also

to significantly improve upon the operational and financial performance of a target business.” It

also stated that “[w]e intend to maximize our potential target investments by proactively

approaching our extensive network of contacts, including private equity and venture capital

sponsors, executives of public and private companies, merger and acquisition advisory firms,

investment banks, capital markets desks, lenders and other financial intermediaries. We believe

the prior investment experience and track record of our team will give us a competitive advantage

when sourcing potential initial business combination opportunities.”

       40.    As detailed in the July 2019 Prospectus, while Pivotal had considerable discretion

in identifying and consummating a business combination, there were three general limitations:

              •       As required by NYSE rules, Pivotal had to complete one or more business

       combinations having an aggregate fair market value of at least 80% of the value of the

       assets held in the trust account (net of amounts previously disbursed to management for

       tax obligations and excluding the amount of deferred underwriting discounts held in trust)

       at the time of its signing a definitive agreement in connection with its initial business

       combination. Pivotal stated in its April 25, 2019 Draft Registration Statement that if its

       board of directors was not able to independently determine the fair market value of the

       initial business combination, it would obtain an opinion from an independent investment

       banking firm, or another valuation or appraisal firm that commonly renders fairness

       opinions with respect to the satisfaction of such criteria.



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               •       Pivotal had only eighteen months to complete a business combination from

       the closing date of the IPO. If Pivotal did not complete a business combination in time (by

       January 16, 2021), its corporate existence would cease, except for purposes of winding up

       its affairs and liquidating. As such, Pivotal was required to hold the approximately $230

       million of proceeds from its IPO in a trust account, which were to be released only upon

       the consummation of a business combination or liquidation.

               •       If Pivotal’s stockholders approved an amendment to the amended and

       restated certificate of incorporation that would affect the substance or timing of Pivotal’s

       obligation to redeem 100% of the public shares if Pivotal did not complete a business

       combination on time, Pivotal was required to provide the holders of its public shares with

       the opportunity to redeem all or a portion of their public shares upon approval of any such

       amendment.

C.     Pivotal’s January 16, 2021 Deadline

       41.     Due to the Pivotal Individual Defendants’ ownership interests in Pivotal and the

terms and financial structure of Pivotal as a SPAC, the Pivotal Individual Defendants possessed

strong financial incentives to complete a qualifying transaction by the January 16, 2021 deadline.

As that deadline grew nearer, the Pivotal Individual Defendants faced pressure to complete a

transaction, irrespective of the merits of that transaction for Pivotal’s public shareholders.

       42.     Pivotal’s Sponsor, Pivotal Investment, owned 95.7% of Pivotal’s initial shares. The

members of Pivotal Investment were Ironbound Partners, an entity affiliated with and controlled

by Ledecky, and Pivotal Spac Funding II LLC, an entity affiliated with and controlled by Griffin.

Ledecky and Griffin, therefore, were the ultimate owners of Pivotal’s initial shares held by Pivotal

Investment. Brady owned 1.7% of Pivotal’s initial shares and the Pivotal Directors, excluding


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Ledecky and Griffin, each owned less than 1% of Pivotal’s initial shares. Following Pivotal’s IPO,

Pivotal Investment would own approximately 19% of Pivotal’s shares, and Brady and the Pivotal

Directors, excluding Ledecky and Griffin, would collectively own approximately 1% of Pivotal

shares.

          43.   If a Business Combination was not consummated by January 16, 2021 (or a later

date if approved by Pivotal’s stockholders), Pivotal would cease all operations except for the

purpose of winding up, redeeming 100% of the outstanding public shares for cash and, subject to

the approval of its remaining stockholders and its board of directors, dissolving and liquidating.

In such event, the 5,750,000 shares held by the Sponsor and Pivotal’s directors and officers, which

were acquired for an aggregate purchase price of $25,000 prior to Pivotal’s initial public offering,

would be worthless because the holders were not entitled to participate in any redemption or

distribution with respect to such shares.

          44.   As the January 16, 2021 deadline drew closer, the pressure on the Pivotal Individual

Defendants to complete a qualifying business combination increased. Between Pivotal’s July 16,

2019 IPO and September 17, 2020, Pivotal identified and met with various potential target

businesses to discuss a possible business combination, yet none of these discussions resulted in an

executed letter of intent. From July 16, 2019 IPO through at least March 30, 2020, Pivotal stated

in multiple SEC filings: “we intend to focus our search on companies exploiting disruptive smart

phone technology.”2

D.        Pivotal Announces Merger Agreement With XL Fleet

          45.   On September 18, 2020, Pivotal and XL Fleet jointly announced that they had

entered into a merger agreement, subject to approval by Pivotal’s and XL Fleet’s stockholders (the


2
       Pivotal Form S-1 filed June 7, 2019 at 66; Pivotal IPO Prospectus filed July 15, 2019 at 66; Pivotal
Form 10-K filed Mar. 30, 2020 at 1.

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“Merger Agreement”).       According to the press release, the merged entity would have “an

anticipated implied enterprise value of approximately $1 billion and no material debt expected to

be outstanding.”

       46.     Also, on September 18, 2020, Pivotal filed with the SEC a Form 8-K that contained

further information about the proposed merger transaction. The Form 8-K included, a copy of the

September 18, 2020 press release, a copy of the Merger Agreement, and an investor presentation

(the “Investor Presentation”) that contained additional representations about XL Fleet’s business.

       47.     Through these various channels, Defendants touted XL Fleet’s growth potential,

pipeline, supply chain production capacity, and overall prospects. For instance, the September 18,

2020 press release stated that “XL has strong demand momentum with a $220 million 12-month

sales pipeline and forecasted revenue of over $21 million in 2020 and $75 million in 2021.” The

press release also provided that “[t]housands of XL units [were] already on the road and over 130

million miles [had been] driven by its more than 200 customers, including FedEx, The Coca-Cola

Company, PepsiCo, Verizon, the City of Boston, Seattle Fire Department, Yale University, and

Harvard University.” The Investor Presentation provided that XL Hybrids had a “Low Risk Path

to Dramatic Growth” that could be achieved by “[s]elling existing products to existing customers

through existing channels.” The Investor Presentation also provided that the XL hybrid product

could “[i]mprove MPG (~25%),” and that XL plug-in was “capable of driving up to 50% savings

in MPG.”

       48.     As detailed herein, these statements by Defendants were false and misleading

because they failed to disclose that (i) XL Fleet had manipulated and overstated its pipeline figures,

(ii) XL Fleet had been experiencing supply chain problems that impeded its ability to timely fill

existing orders, (iii) a large number of the customers touted by XL Fleet were inactive and no



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longer ordering XL Fleet products, (iv) the quality and benefits of XL Fleet’s technology were

overstated and that technology did not provide the miles-per gallon savings to customers that XL

Fleet represented, and (v) as a result of these omissions, Defendants’ rosy assessment of XL Fleet’s

prospects and projections of future revenue were wildly overstated.

        1.      XL Hybrids

        49.     XL Hybrids was founded in 2009 by its President and Chief Strategy Officer, Tod

Hynes, and is a provider of fleet electrification solutions for Class 2-6 commercial vehicles in

North America.3 Hynes and XL Hybrids’ CEO, Dimitri Kazarinoff, claimed to have decades of

leading energy innovation, automotive, and electric vehicle (“EV”) experience. XL Hybrids

claimed that since its founding, it had deployed its hybrid and plugin hybrid electric drive systems

on thousands of vehicles across hundreds of fleets throughout the United States and Canada.

        50.     XL Hybrids claimed to be a trusted brand for over 200 of the largest commercial

and municipal fleets in North America, with more than 3,200 XL systems deployed and over 130

million miles driven by customers as of December 8, 2020. XL Hybrids claimed that its customer

base included FedEx, The Coca-Cola Company, PepsiCo, Verizon, the City of Boston, Seattle Fire

Department, Yale University, and Harvard University, among other blue-chip companies,

municipalities, and institutions.

        51.     A September 18, 2020 press release announcing the Merger Agreement asserted

that XL Hybrids had “developed a flexible proprietary electrification powertrain platform that

transforms traditional fossil fuel-powered fleet vehicles into hybrid and plug-in hybrid electric

vehicles as they are manufactured. XL Fleet systems are available on a wide variety of Class 2-6


3
        Class 2-6 vehicles include vehicles generally classified as light duty (less than 10,000 pounds) and
medium duty (between 10,000 pounds and 26,000 pounds) under the gross vehicle weight rating system,
such as utility vans, pick-up trucks, mini-bus, box trucks.


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vehicles manufactured by Ford, Chevrolet, GMC, and Isuzu, and the Company is on track to

provide its systems in Class 7-8 vehicles in 2022.”4

        52.      The September 18, 2020 press release stated that in addition to XL’s electric

powertrain platform, “XL provides real-time data monitoring and analytics, and will expand its

‘Electrification-as-a     Service’    solution,     which     includes    power      management,       charging

infrastructure, and onsite power and storage offerings. XL is also developing all electric offerings.

The Company’s rapidly deployable technology solutions position it for long-term growth in a total

addressable market that is greater than $1 trillion, which incorporates the money spent on energy

consumption and vehicle costs for commercial fleets globally.”

        2.       Inflated Sales Pipeline And Revenue Projections

        53.      Since at least 2019, XL Fleet had been regularly recording losses, and by the middle

of 2020, XL Fleet was experiencing a serious cash shortage and needed outside funds to continue

as a going concern. The XL Fleet Individual Defendants had a strong incentive to exaggerate XL

Fleet’s sales pipeline and revenue projections in order to obtain additional financing or to present

XL Fleet as an attractive target for a potential acquirer.

        54.      As Pivotal acknowledged in its December 8, 2020 proxy statement and prospectus,

at the time the Merger Agreement was executed, XL Fleet had a substantial working capital deficit,

it was not generating profits and expected to continue to incur net losses, and substantial doubt

existed about XL Fleet’s ability to continue as a going concern:

        As of September 30, 2020, XL had a working capital deficit of $27.6 million and
        an accumulated deficit of $87.6 million. XL incurred a net loss of $20.0 million for
        the nine months ended September 30, 2020 and a net loss of $14.9 million for the
        year ended December 31, 2019.


4
         Class 7-8 vehicles are heavier trucks between 26,001 and 33,000 pounds, and over 33,000 pounds,
respectively, and usually have three axles or more, such as refuse vehicles, city transit buses, tractor trailers,
and fire trucks.

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        XL expects to continue to incur net losses in the short term .... XL’s ability to access
        capital when needed is not assured and, if capital is not available when, and in the
        amounts needed, it could be required to delay, scale back or abandon some or all of
        its development programs and other operations, which could materially harm XL’s
        business, prospects, financial condition and operating results. Because of this
        uncertainty, there is substantial doubt about XL’s ability to continue as a going
        concern ....

        While management believes the funds to be raised in the Business Combination
        will alleviate the conditions that raise substantial doubt, it is not expected that such
        doubt can be alleviated prior to the consummation of the Business Combination.

        55.     According to a Former Employer of XL Fleet (“FE1”)5, XL Fleet was always

looking for investors and trying to raise money during her tenure at the Company (May 2019

through June 2020). According to FE2, when she was hired at XL Hybrids (in or around June

2020), she was informed that the company had enough financing to last until the end of 2020. FE2

stated that she was aware that XL Fleet was seeking further financing and needed such financing

to continue operations.

        3.      XL Fleet’s Pipeline Inflation Scheme

        56.     Even before Pivotal had identified XL Fleet as an acquisition target and started

discussions concerning a potential merger in or around July 2020, XL Fleet engaged in practices

that caused its sales pipeline figures and revenue projections to be materially overstated.

        57.     XL Fleet’s pipeline figures and revenue projections were based on data collected

by its sales team and entered into the Salesforce software system, a system for tracking sales

opportunities with existing and potential customers. As described in Pivotal’s Form S-4/A filed

with the SEC on November 12, 2020:

        XL’s sales and marketing team uses a software tool to track all sales opportunities
        to existing and potential customers, identifying specific vehicles and XL systems
        for such vehicles. This is used by XL management to create projections about

5
       All references to former employees are found in the securities class action entitled In re XL Fleet
Corp. Securities Litigation, Case 1:21-cv-02002-LGS (S.D.N.Y.), pending in the Southern District of New
York. All references to the former employees (FEs) of XL Fleet are based on information and belief.

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       future aggregate sales pipeline opportunities for its existing products. XL
       management reviews its sales opportunity pipeline data and applies its historic
       conversion rates of sales pipeline and historical experience with respect to lead time
       to create revenue projections.

       58.     As set forth by several former employees found in the Securities Class Action

complaint, XL Fleet manipulated the data in the Salesforce system in a variety of ways, causing

the Company’s reported pipeline figures to be materially overstated. During a period that extended

from at least Q4 2019 through Q3 2020, Defendant Piern, XL Fleet’s Vice President of Sales and

Marketing, would regularly instruct employees to (i) enter sales opportunities for particular

customers in the Salesforce system without a reasonable basis, (ii) record inflated percentage

likelihoods of sales, and (iii) maintain pre-existing entries in the Salesforce system after customers

indicated that they would not be ordering products in the amounts recorded in Salesforce (or at

all). Further, Piern would frequently override and alter entries in the Salesforce system made by

sales personnel to inflate the percentage likelihood of a sale.

       59.     For instance, according to FE1, in November 2019, FE1 and Piern attended a

National Association of Pupil Transportation conference. At this conference, FE1 and Piern spoke

with five or six original equipment manufacturers (“OEMs”) of school buses. These conversations

were general in nature and not detailed enough to expect the OEMs to place orders with XL

Hybrids. Nonetheless, Piern instructed FE1 to enter a five percent sales opportunity into XL’s

Salesforce.com sales tracking software for 100 units (equivalent to approximately $1.6 million in

potential sales) for each of these OEMS, totaling 500-600 units (equivalent to approximately $8.0

$9.6 million in potential sales).

       60.     As another example, at a weekly sales meeting, Piern instructed FE1 to identify

large commercial fleets and enter those as sales opportunities even if FE1 had not spoken to anyone




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at those companies. Piern gave FE1 such instructions irrespective of whether or not the companies

in question even had vehicles that were compatible with XL Hybrids’ products.

       61.     According to FE1, all the sales opportunities entered into the Salesforce.com

software became part of XL Hybrids’ sales pipeline.

       62.     FE1 also recalled an instance in which one of XL Fleet’s customers, Pepsi, after

purchasing 10 units as a trial run, communicated to XL Fleet that it would not be ordering

additional XL Fleet products. FE1 stated that Piern knew that Pepsi had no intention of making

any additional purchases. After a meeting with Pepsi in which FE1 was informed that Pepsi would

not be buying any additional XL Fleet products, FE1 updated XL Fleet’s Salesforce.com software

to note this information, and to reflect a zero percent chance of Pepsi ordering additional products.

FE1 later saw that the Salesforce data had been changed to reflect a sales opportunity with a five

percent likelihood for Pepsi. FE1 stated that Piern often changed the percentages associated with

possible sales that had been entered by sales people in XL Fleet’s Salesforce software. In the

experience of FE1, Piern’s changes always reflected an increased likelihood of completing a sale.

       63.     FE26 also recounted a moment in which Piern directed the artificial maintenance of

a sales probability in Salesforce even after information received from a customer indicated that the

sales probability lacked a reasonable basis. For example, in the third quarter of 2020, an individual

employed by a potential customer in the elevator industry informed FE2 that the elevator company

might be interested in purchasing 400 units of XL Fleet products (representing approximately $6


6
        Former Employee 2 (“FE2”) was XL Fleet’s Channel Partner Manager for fleet management
companies from June 2020 until February 2021. FE2 was the first person to hold this position at XL Fleet
and reported to Piern. During the time FE2 worked at XL Fleet, Piern reported to Kazarinoff. Fleet
management companies (“FMCs”) help companies manage commercial vehicle fleets for various
companies, such as Amazon. FE2 described FMCs as a “cottage industry” with a small group of key
players, which handle maintenance, routing and even housing the fleet in a warehouse. FE2 had contacts
in the FMC industry through FE2’s previous work experience and was tasked with identifying potential XL
customers and using FE2’s contacts to pitch XL Fleet products to those end-user customers.

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million in sales). FE2 entered this sales opportunity into Salesforce.com for 2021 with a 75%

probability. However, FE2’s contact then left the elevator company, and it became clear to FE2

from ongoing conversations that any purchase from the elevator company would be spread out

over a multiple year period, as the company had a five-year plan to achieve certain sustainability

goals. As such, FE2 informed Piern before the end of 2020 that this opportunity should no longer

be reflected in Salesforce as a 75% probability of a 400 unit purchase in 2021. Nonetheless, Piern

told FE2 to maintain this sales opportunity as a 75% probability in Salesforce.

       64.     According to FE2, one practice used to increase XL’s pipeline figure was the

transmission of pricing information to potential customers. FE2 stated that if pricing was sent to

a potential customer, the sales opportunity was increased from 5% to 25% in Salesforce, even if

the potential customer did not indicate a lot of interest. Therefore, FE2 would often send quotes

to potential customers to increase the reported probability of a sale in Salesforce.

       65.     FE2 recalled that the sales pipeline was approximately $220 million during her time

at XL Fleet (between June 2020 and February 2021). FE2 stated the sales pipeline was a weighted

average of all the opportunities, based on the assigned percentages in Salesforce. FE2 believed

that the sales pipeline was overstated.

       66.     The Muddy Waters Report provides additional accounts of former employees that

further corroborate XL Fleet’s pipeline inflation practices. According to the Muddy Waters

Report, Former XL Fleet Employee A stated: “I was paid to lie. I was paid to falsify and exaggerate

my pipeline.” The same employee also stated:

       Once a quarter before board meetings, I would find that a bunch of my deals with
       larger [potential sales] numbers behind them would have been exaggerated
       substantially in their probability to close: from 25% up to 75%. For that brief week
       when the board was in town, my deals were at 75%, and I would have nothing to
       do with that. That was [manager name redacted]. A minimum of four times a year
       he would exaggerate my pipeline substantially to report to the board.

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See Muddy Waters Report at 8.

       67.     As mentioned above, FE37 confirmed that she was the individual identified as

Employee A in the Muddy Waters Report, and that the statements attributed to her are correct and

accurate. FE3 also stated that Piern often increased the percentages entered into Salesforce and

sometimes made up “bogus” companies and entered opportunities for those companies. Further,

FE3 said Piern had her enter sales opportunities for companies in California, which were all false

because XL Fleet could not sell in California because it had lost CARB (California Air Resources

Board) approval.8

       68.     According to the Muddy Waters Report, Former XL Fleet Employee B stated:

“Even if [potential customers] have no interest, my boss tells me to go into Sales force and create

an opportunity for 100 chassis with hybrid systems in it ... You’re talking another $1 million or $2

million that goes into the pipeline that’s really not there.”

       69.     According to the Muddy Waters Report, Former XL Employee C stated: “I was told

to [exaggerate my pipeline], but I didn’t do it. That was, yes, it wasn’t that good for me.”

According to the Muddy Waters Report, Former XL Fleet Employee C was subsequently laid off.

       4.      Supply Chain Problems

       70.     One of the key components of XL Fleet’s hybrid electric vehicle and plug-in hybrid

electric vehicle products is a lithium ion battery pack. According to FE1, XL Fleet’s products



7
       Former Employee 3 (“FE3”) was an XL Fleet Regional Sales Manager from November 2018 until
June 2020. FE3 had had weekly one-on-one meetings with Piern. According to the Securities Class Action,
FE3 confirmed that FE3 is the Former Employee A referenced in the Muddy Waters Report, and that
statements attributed to FE3 as Former Employee A in the Muddy Waters Report are correct and accurate.
8
        In its March 8, 2021 response to the Muddy Waters Report, XL Fleet admitted: “In fact, while XL
Fleet did lose CARB approval status in 2019 and was unable to secure re-approval in 2020 due in part to
the COVID-19 pandemic, the Company expects to receive CARB re-approval in 2021.”

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could not be shipped to customers unless they included batteries, because without batteries the

products would be incomplete and the customers would not pay for them.

       71.    During the first week that FE1 worked at XL Hybrids in May 2019, she traveled to

Boston for a sales team meeting, at which Piern informed the sales team that XL Hybrids was

having issues getting batteries from its supplier LG. Then-CEO Hynes was present at this meeting.

       72.    According to FE1, during her tenure at XL Hybrids (May 2019 to June 2020), XL

Hybrids did not make its own batteries, but contracted with third-party supplier LG to provide

them. FE1 explained that the same batteries used by XL Hybrids were used by Chrysler for its

Pacifica hybrid electric minivan, and that LG viewed supplying Chrysler as a priority over XL

Hybrids. During FE1’s tenure, XL Hybrids could sometimes obtain one or two batteries at a time

from LG, but was only able to obtain a minimal amount of batteries.

       73.    According to FE1, battery supply was essential to XL Hybrids’ ability to make

sales, and customers who had placed purchase orders but not received them due to XL Hybrids’

delays in obtaining batteries were hesitant to make additional purchases from XL Hybrids.

       74.    According to FE49, when she was hired in May 2019, she specifically asked about

the supply chain and how well it operated. FE4 was concerned that since XL Fleet was a “small

fish,” it might not be able to get the components it needed to build the product. She was assured

that the supply chain was not an issue. By September 2019, however, she was informed that the

company was having challenges obtaining batteries because a larger company was taking priority.

FE4 said LG was XL Fleet’s battery supplier. FE4 stated that XL could not fulfill purchase orders

without batteries and that she would inform affected customers that there would be delays and



9
       According to the Securities Class Action complaint, Former Employee 4 (“FE4”) was an XL
Regional Sales Manager from July 2019 until March 2020. She reported to Piern. FE4 was initially a
Regional Sales Manager for the East Coast but later her region changed to Southeast.

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tried to provide approximate timeframes for when the orders would be fulfilled. FE4 stated that

the supply chain issue impacted her ability to meet her sales quota. According to FE4, XL’s

difficulty in obtaining batteries continued at least until the time she left the company in March

2020.

        75.    According to FE2, during her tenure at XL Fleet (June 2020 to February 2021), XL

Fleet continued to have problems obtaining parts which led to backlogged orders not being

delivered. FE2 recalled difficulties obtaining batteries and hearing that XL Fleet’s battery supplier

had informed XL Fleet that larger customers ordering more batteries were a priority over XL Fleet.

        76.    The accounts of former employees in the Muddy Waters Report further corroborates

the existence of serious supply chain problems. As detailed in the Muddy Waters Report, Former

Employee A stated: “All of 2019 there were essentially zero batteries delivered. In the first six

months of 2020, they got line of sight on maybe 90 ... to the point where as soon as they got them,

they would go to the most pissed off customer: ‘Okay, you can have five batteries.’”

        77.    According to the Muddy Waters Report, Former Employee B stated:

        When I started, they were using LG batteries in all their stuff. Chrysler took all the
        allocation for all their batteries. They were testing and retesting and trying to
        validate … by the time I left, they still didn’t have a decent supply chain of the
        battery to get it going where it was. The whole time I was there, they didn’t have a
        battery.

        78.    According to the Muddy Waters Report, Former XL Employee C stated:

        Deliveries weren’t happening ... It’s like, ‘Can you tell me the truth, so I can get
        my fleets in order?’ ... It caused angst with me, because I think that there were some
        things in the supply chain that they [management] just really knew ... ‘Oh, just let
        them know it’ll be 30 days.’ Then 30 days passes. ‘Well, let them know it’ll be
        another 30 days.’

        79.    Due to these supply chain problems, XL Fleet’s backlog of orders remained

stagnant and did not efficiently convert into revenue. According to FE1, XL Hybrids’ order



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backlog remained at roughly similar levels during her tenure, without old orders shipping, and

without new orders coming in. As such, FE1 believed that order backlog was not an accurate

representation of XL Hybrids’ actual capability to generate future revenue. While Defendants did

not report a backlog figure in their public statements on September 18, 2020, Defendants

subsequently did report a backlog figure in multiple public statements between October 2, 2020

and January 22, 2021, and touted this figure as an indicator that XL’s future revenues were likely

to be robust.

       80.      Independent of the role that XL Fleet’s backlog played as a stand-alone metric that

was misleading to investors as an economic indicator in its own right, XL Fleet’s backlog also was

factored into Defendants’ revenue forecast, and Defendants’ failure to disclose XL Fleet’s ongoing

supply chain problems rendered that forecast materially misleading. Indeed, Defendants’ forecast

of $75 million in revenue for 2021 assumed both a massive increase in new orders being placed

and an even greater increase in both new and old orders being filled. That forecast was incredibly

unrealistic in light of the persistent supply chain difficulties that XL Fleet faced in satisfying a

much smaller volume of orders.

       5.       XL Fleet’s Low Reorder Rates

       81.      Although Defendants portrayed XL Hybrids as a “[t]rusted brand helping fleets

drive decarbonization today,” and specifically identified 33 high profile customers by name in the

investor presentation published on September 18, 2020, many of these customers had ceased doing

business with XL Fleet.

       82.      According to the Securities Class Action complaint, FE1 confirmed that certain

companies touted as customers in Defendants’ statements were no longer active customers and did

not intend to purchase additional XL Fleet products. FE1 stated that two of her customers (Pepsi



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and Safelite) had only purchased 10 units as a trial run to verify performance, and that both

companies had communicated to XL Hybrids that they would make no further purchases, and that

FE1’s supervisor Piern knew these customers had no intention of making further purchases.

       83.       FE2 similarly confirmed that many of the purported customers identified in XL

Fleet’s investor presentation had not ordered products from XL Fleet in several years. FE2 stated

that Comcast, Verizon, AT&T, UPS and FedEx had not ordered XL products in approximately

seven years, and that they would not be ordering XL Fleet’s hybrid products in the future because

they were planning to purchase fully electric vehicles instead.

       84.       The Muddy Waters Report confirmed that XL Fleet’s customers had low reorder

rates and many of the XL Fleet customers touted in the September 18, 2020 investor presentation

were inactive.

       85.       The Muddy Waters Report quoted “Former XL Employee A” as stating “Almost no

one reorders . . . it’s maybe 10%.”

       86.       Based on interviews with three former XL Fleet employees, the Muddy Waters

Report reported that 18 of 33 advertised “customers” had not ordered any XL Fleet products over

at least 2019 through the first half of 2020. These inactive customers included: Alabama Power,

DHL, Ferguson, Clark Public Utilities, CalVans, Southern California Edison, SDGE, Portland

General Electric, Coca-Cola, Verizon, ThyssenKrupp, Stanley Black & Decker, ComEd, Hawaiian

Electric, Safelite, City of Seattle, DTE Energy, and Pepsi.

       87.       The Muddy Waters Report quoted former XL Fleet employees and a former XL

customer discussing specific purported “customers” that had only purchased XL Fleet products for

small pilot programs and never made follow-up purchases. For instance, the Muddy Waters Report




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quoted one such source as saying regarding Ferguson, “Just a pilot, two or three trucks; they

haven’t repeated the order and it’s been three to four years.”

       6.      XL Fleet’s Technology Was Overstated

       88.     Although the Defendants publicly promoted supposedly impressive mileage gains

and return on investment to customers using XL Hybrids’ products, in reality XL Hybrids’

customers often experienced minimal mileage gains and negative returns on their investments.

       89.     According to the Securities Class Action complaint, FE2 stated that she sold zero

products during her tenure with the Company, due in substantial part to the fact that XL Fleet

products were too expensive, such that the return on investment was not enough to make the cost

worthwhile for potential customers. According to FE1, some XL Hybrids customers complained

that their vehicles’ realized miles per gallon of fuel decreased after purchasing XL Hybrids

products.

       90.     FE4 explained that for some customers, XL Fleet products did not make sense. For

instance, customers in rural areas might not see a return on investment. FE4 stated that fleet

managers would not purchase products unless they would receive a return on investment, meaning

that the purchase has to result in overall cost savings for the fleet. Some customers to whom FE4

tried to sell additional XL Fleet products were not interested because they did not obtain sufficient

ROI on their prior purchases from XL Fleet, and XL Fleet had increased its product prices thus

making customers’ expected ROI on new purchases even lower.

       91.     FE1 questioned some of the assumptions underlying the return on investment

example calculations presented by Defendants to investors (and reproduced in Pivotal’s SEC

filings). FE1 noted that the assumed $3.00 per gallon of gasoline was high for most areas of the

country at the time. FE1 also believed that the “Driver Productivity Savings” metric used in XL



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Fleet’s ROI example calculation was useless and just an effort to make XL Fleet’s marketing look

appealing.

       92.    According to FE2, the ROI information provided in the Seattle case study

referenced in XL Hybrids’ investor presentations (and reproduced in Pivotal’s SEC filings) does

not seem accurate, and FE2 could not figure out how the company arrived at the numbers presented

in that case study. FE2 explained that the customer that was the subject of that case study had

received a substantial volume discount, and that the fuel cost assumptions used seemed high. FE2

did not trust the numbers from XL Fleet about product performance, and so FE2 calculated her

own numbers when presenting to potential customers.

       93.    The Muddy Waters Report likewise confirmed that benefits of XL Fleet’s

technology were overstated and that its technology did not provide the MPG savings or ROI to XL

Fleet’s customers that XL Fleet publicly represented.

       94.    The Muddy Waters Report quoted “Former XL Employee A” regarding XL Fleet’s

MPG and ROI claims, who stated “[t]heir numbers are based upon a bare-boned F-150 on a dyno

[dynamometer] in optimal, optimal circumstances, but the second you add weight or a passenger

or human error to that, it all goes out the window.” Regarding XL Fleet’s claims of up to 50%

MPG improvement from its plug-in product, the Muddy Waters Report quoted “Former XL

Employee A” as stating: “Never would you come across 50% on the plug-in ... The 50%, it’s insane

that it’s advertised ... You might see a decrease in MPG because you’re adding 800 pounds of

batteries to the back of an F-150 and expecting it to achieve performance.” The Muddy Waters

Report further quoted “Former XL Employee A” regarding her interactions with customers:

       You do have fleet managers that are very savvy and they check their fuel spending.
       It’s the guys that don’t care about the PR, they care about performance.




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        Those guys would be calling me daily being like, ‘Dude, this thing’s broken down.
        I’m not seeing any improvement, if anything maybe 1% to 2% per $25,000.’
        There’s no return on investment, zero.

        95.    The Muddy Waters Report quoted multiple former XL Fleet employees as stating

that XL Fleet’s publicly touted MPG gains were based on optimal conditions, and that real-world

use of XL Fleet’s products resulted in dramatically lower MPG gains. For instance, although XL

advertised up to 50% MPG savings for its plug-in product, a former employee stated that average

MPG gains for this product were only 25-35%. And while XL advertised approximate MPG

improvement of 25% for its hybrid product, another former employee stated that outside of an

optimal city drive cycle MPG savings for this product were probably only 5-10%.

        96.    The Muddy Waters Report identified specific former XL Fleet customers that had

experienced poor ROI and had ceased ordering XL Fleet products, such as Portland General

Electric, Pepsi, and Alabama Power. The Muddy Waters Report also quoted former XL Fleet

employees as stating that a lot of customers complained about poor results, lack of return on

investment, and failure to meet expectations. The Muddy Waters Report quoted a Fleet Manager

and Former XL Fleet Customer as stating: “[s]omeone would probably not save money at $13k

[per kit] on a pure fuel basis.”

        97.    The Muddy Waters Report stated that XL Fleet took steps to conceal the

performance of its products from customers who had purchased them, quoting former employees

as stating that XL Fleet refused to give customers access to the XL Link system that recorded data

on the products’ performance, and that XL Fleet employees would try to make this data seem better

than it was when discussing it with customers, and to deflect blame for poor performance.

       7.      XL Fleet’s Revenue Projections




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       98.     According to Defendants, XL Fleet’s sales pipeline was a critical input into its

revenue forecast. As described in Pivotal’s Form S-4/A filed with the SEC on November 12, 2020,

“XL management reviews its sales opportunity pipeline data and applies its historic conversion

rates of sales pipeline and historical experience with respect to lead time to create revenue

projections.” Accordingly, the inclusion of non-viable sales opportunities in the pipeline and the

exaggeration of the recorded likelihood of sales had the effect of not only inflating the sales

pipeline figure but also inflating the revenue forecast upon which it was based.

       99.     XL Fleet’s supply chain problems, low customer reorder rates, large number of

inactive customers, and the weakness of its technology all operated to render XL Fleet’s revenue

forecast unrealistic and undermine the assumptions upon which that forecast was based.

Defendants’ failure to disclose these factors caused the market to materially underestimate the risk

that XL Fleet’s forecast would not be achieved.

       100.    Additional facts support the conclusion that XL Fleet’s revenue forecast lacked a

reasonable basis and was likely unachievable. According to FE2, FE2 was not able to sell any

products during her tenure at XL Fleet, which she attributes in part to the fact that these products

were too expensive for their emission reduction capabilities, and that the return on investment was

not enough to make the cost worthwhile for customers.

       101.    According to the Securities Class Action complaint, FE2 was given a sales target

of $12 million for 2021, even though she had never been able to sell an XL product, and even

though the entire company had only $20.3 million in 2020 revenues. This sales target was not

based on identified sales opportunities, but rather was simply imposed by XL executives.

       102.    According to FE2, Hynes and Kazarinoff told Piern that the sales team as a whole

needed to sell $75 million for 2021, and the sales team was not allowed to offer any feedback on



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whether this target was achievable. According to FE2, Piern then simply divided up the $75

million total sales target among the sales team, assigning FE2 $12 million of the total without

much reasoning other than the need to divide up the total target.

       103.    Leading up to the Business Combination, XL Fleet repeatedly disclosed its

projection of $75 million in 2021 revenue.

       104.    According to the Securities Class Action complaint, FE2 did not believe that her

$12 million 2021 sales target was possible to meet with only hybrid products to offer. XL Fleet

projected that hybrid products would account for substantially all of its 2021 sales.

       105.    Similarly, according to FE1, during her tenure at XL Hybrids, neither she nor

anyone else met their sales goals.

       106.    Taken together, the foregoing facts tended to seriously undermine the accuracy of

XL Fleet’s revenue forecast and the failure to disclose these facts rendered the issuance of the

forecast and Defendants’ related statements misleading.

E.     Defendants Aggressively Promoted The Proposed Merger

       107.    XL Hybrids issued at least eight, highly promotional press releases, each of which

promoted the proposed Merger and touted XL Hybrids’ technology and customer base.

       108.    XL Hybrids issued a September 30, 2020 press release titled “XL Fleet to

Accelerate Rapid Growth and Expand Fleet Electrification Solutions Through Proposed Merger

with Pivotal Investment Corporation II.” XL Hybrids stated in an October 26, 2020 press release

that it was “revenue-generating today with strong demand momentum, including a $220 million

12-month sales pipeline and forecasted revenue of over $21 million in 2020 and $75 million in

2021.” In a November 1, 2020 press release titled “XL Fleet Generates Record Third Quarter 2020

Revenue,” XL Hybrids reiterated its $220 million sales pipeline and $75 million 2021 revenue



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forecast, in addition to promoting “record quarterly total GAAP revenue of $6.3 million for the

third quarter of 2020.”

       109.    XL Hybrids issued similarly promotional press releases on November 16, 2020,

November 23, 2020 (“XL Fleet Expects its Largest Partner to Double Orders in 2021”), December

1, 2020, December 11, 2020, and December 16, 2020 (“XL Fleet Expands Electrification Solutions

Portfolio to Ford F-550 Chassis to Meet Strong Customer Demand”).

       110.    On October 26, 2020, Defendants Hynes and Kazarinoff, as well as Pivotal

representative Greg Racz, appeared in a webinar hosted by SPAC Insider to promote XL Hybrids

and the proposed Merger. Defendant Kazarinoff stated: “Our individual order sizes have been

growing rapidly as we’re seeing folks go from trial to actual adoption, and we’ve got a 12 months

sales pipeline that now is over $240 million, which we feel is going to support our forecast for

next year of $75 million in revenue.”

       111.    On November 12, 2020, Defendant Hynes gave an interview on Bloomberg TV

similarly promoting XL Hybrids’ business prospects. Defendant Hynes stated: “We’re growing

extremely rapidly already . . . we’re already experiencing tremendous growth.” Defendant Hynes

likewise aggressively promoted XL Hybrids’ prospects in a November 16, 2020 webinar hosted

by IPO Edge and a November 23, 2020 interview with TD Ameritrade. During the November 23,

2020 interview, Defendant Hynes stated: “We’re putting more units on the road now than any of

our competitors and we’ve got some great customers coming back to buy more and we’re really

scaling up across the country.”

       112.    At the same time that Defendants carried out this media blitz promoting XL Hybrids

and the proposed Merger, they and their advisors were preparing the required SEC filings, investor

disclosures, and other legal documentation for the proposed Merger.



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        113.   On October 2, 2020, Pivotal filed a Registration Statement on Form S-4 with the

SEC containing a preliminary prospectus supplement and proxy statement for Pivotal’s annual

meeting to be held later in the year, in order to register up to 100 million shares of Pivotal’s stock

to be issued to XL Hybrids’ shareholders in connection with the proposed Merger. In the October

2, 2020 Registration Statement, Pivotal first disclosed XL Fleet’s backlog of existing purchase

orders, stating:

        As of September 25, 2020, XL has a backlog of 961 firm purchase orders
        representing $12.3M in revenue. This backlog reflects the manner in which XL
        believes its customers currently purchase commercial vehicles, with a typical 3 to
        6 month lead time. All XL orders are designed to meet a specified OEM vehicle
        chassis (VIN level), with production and shipment coordinated to meet
        simultaneously via the industry standard ship-thru process. XL systems are sourced
        and built to exacting specifications in line with OEM production timelines and
        customer installation preferences, and supply is sourced to meet these timelines.

        114.   Pivotal further stated: “XL believes that the size of its sales opportunity pipeline

and committed backlog are important indicators of future performance.”

        115.   These statements were misleading because they failed to disclose the severe supply

chain problems, which prevented XL Fleet from timely converting backlog into revenue. As such,

XL Fleet’s backlog presented a misleading indicator of future performance, because Defendants

lacked the supplies necessary to fill existing purchase orders within the 3 to 6 month lead time

indicated by Pivotal’s statement.

        116.   While Defendants did provide certain risk warnings and other disclosures

concerning battery supply issues, these disclosures were themselves misleading because they

failed to disclose the extent to which the risks had already materialized and they understated the

severity, scope and duration of the existing shortages. For instance, in the Risk Factors section of

the October 2, 2020 Registration Statement, Pivotal stated:




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       Increases in costs, disruption of supply or shortage of XL’s components,
       particularly battery cells, could harm its business.

       In the production of its electrified powertrain solutions, XL may experience
       increases in the cost or a sustained interruption in the supply or shortage of its
       components. Any such increase or supply interruption could materially negatively
       impact XL’s business, prospects, financial condition and operating results. The
       prices for XL’s components fluctuate depending on market conditions and global
       demand and could adversely affect its business, prospects, financial condition and
       operating results. … Any disruption in the supply of battery cells could temporarily
       disrupt production of XL’s electrified powertrain solutions until a different supplier
       is fully qualified. [Emphasis added].

       117.    This statement was misleading because it suggested that an interruption in supply

or a shortage in components were eventualities that XL Fleet “may experience,” but did not

disclose that XL Fleet was already experiencing these supply disruptions and that they were

already severely impacting XL Fleet’s ability to fill existing customer orders.

       118.    In the October 2, 2020 Registration Statement, Pivotal also made the following

disclosure regarding battery supply issues:

       Revenues decreased by $1.2 million, or 27.6%, from $4.3 million in the six months
       ended June 30, 2019 to $3.1 million in the same period in 2020. The decrease was
       primarily due to disruptions in battery supply and disruptions in OEM vehicle
       production due to the COVID-19 pandemic. XL and its suppliers and OEMs have
       made improvements in XL’s supply chain during the second half of 2020 that XL
       believes will mitigate the supply disruptions experienced during the first half of
       2020.

       119.    This partial disclosure gave the market some indication that XL Fleet had already

experienced supply shortages, but the statement was also highly misleading because it only gave

a small part of the story. According to former employees, XL Fleet had been experiencing severe

battery shortages going back to May 2019, long before COVID-19 began to impact the global

supply chain. For the entire second half of 2019 and the entire first half of 2020, XL Fleet had an

incredibly limited supply of batteries and was unable to fill the vast majority of customer orders.

As recounted by the former employees, the principal reason that XL Fleet could not obtain batteries

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was because of XL Fleet’s status as a “small fish” in the market and the priority that was given to

larger customers by third-party battery suppliers. While Defendants claimed that XL Fleet and its

suppliers had taken steps to “mitigate” the supply disruptions, Defendants failed to adequately

describe the severity, the scope, and the longstanding duration of the problem. Moreover, XL

Fleet’s revenue forecast of $75 million for 2021 assumed that revenues would more than triple

between 2020 and 2021, which meant that production would also need to more than triple and XL

Fleet would need to obtain a much higher number of batteries to meet its revenue target. Without

disclosing the long-standing nature of XL Fleet’s problems in obtaining batteries and by portraying

the issue as a temporary problem relating to COVID-19, Defendants’ representations concerning

XL Fleet’s “scalable business model” and “established supply chain production capacity” were

misleading and caused the market to materially underestimate the magnitude of the risks inherent

in XL Fleet’s revenue forecast.

       120.    Pivotal amended its Registration Statement on November 12, 2020, December 1,

2020, and December 4, 2020. Each amended version of the Registration Statement was false and

misleading for similar reasons as the original version filed on October 2, 2020.

       121.    In its Form S-4/A dated November 12, 2020 (which amended the October 2, 2020

Registration Statement), Pivotal made two new relevant disclosures concerning the supply chain

and battery supply issues. Pivotal stated:

       In the first half of 2020 as result of the COVID-19 pandemic, XL experienced
       multiple supply and service disruptions impacting XL’s HEV product line. XL’s
       primary battery test facility, halted testing of XL’s HEV battery, preventing the
       validation of a newly designed battery. After several weeks, XL was able to find an
       alternate test facility, to restart the battery validation. This required sourcing,
       contracts, test plan development, training, and movement of essential hardware and
       equipment from the original location in New York to California resulting in a
       several month delay. Both test facility service providers are procured under a
       purchase order service arrangement.



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       Further, an XL battery supply partner, operating under a multi-year non-exclusive
       supply agreement with volume and pricing commitments, had significant supply
       disruptions in the April-May timeframe due to sub-supplier impacts on the Indiana
       and Michigan labor forces. In addition, Ford Component Sales (FCS), with whom
       we procure battery components under a month to month purchase order, had battery
       supply disruptions with a temporary closure of its manufacturing plant in
       Rawsonville, Michigan. This closure impacted the supply of HEV batteries to XL
       by several weeks.

       122.   Pivotal also stated:

       Revenues increased by $2.5 million, or 36.6%, from $6.9 million in the nine months
       ended September 30, 2019 to $9.5 million in the same period in 2020. The increase
       was primarily due to the resolution of battery supply issues, increased end customer
       demand and increased order sizes. During the quarter ended September 30, 2020,
       XL, its suppliers and OEMs made improvements to XL’s supply chain, including
       sourcing an additional battery supplier, which helped to counteract the negative
       impact of the COVID-19 pandemic on XL’s business in prior quarters. Of the $9.5
       million in revenue for the nine months ended September 30, 2020, approximately
       $6.4 million of revenue was recognized during the three months ended September
       30, 2020, which was primarily due to the resolution of battery supply issues.
       Resolving the battery supply issues allowed XL to increase production and fulfill
       orders in its outstanding backlog.

       Based upon XL’s current production throughput and its current backlog of orders,
       and subject to any further unforeseen supply chain disruptions caused by the
       COVID-19 pandemic, XL anticipates revenues for the year ending December 31,
       2020 to be approximately $21 million.

       123.   These statements were misleading for the same reasons that the statements in the

October 2, 2020 Registration Statement were misleading. By characterizing the battery supply

issues as principally due to the impact of the COVID-19 pandemic and failing to disclose the

severity, scope and duration of the battery supply issues arising from XL Fleet’s lack of market

power and leverage in the battery market, Defendants materially misled investors as to nature and

likely persistence of the problem. Worse still, the statements in the November 12, 2020 Amended

Registration Statement suggested that the battery supply problem had been “resolv[ed]” and that

in the absence of “any further unforeseen supply chain disruptions,” XL Fleet was on track to meet

its forecast of $21 million in revenue for 2020. The November 12, 2020 Amended Registration

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Statement also repeated the forecast of $75 million in revenue for 2021. The facts support a strong

inference that by November 12, 2020, it was already clear that XL Fleet did not have access to a

sufficient number of batteries to meet the 2021 revenue forecast of $75 million, and that the

purportedly new and unexpected shortages that Defendants would disclose just a few months later

were not “unforeseen” but merely a continuation of a long-standing supply chain problems that

existed well before COVID-19.

       124.    The SEC issued a notice of effectiveness for Pivotal’s Registration Statement on

Form S-4 as of December 8, 2020. On that date, Pivotal filed with the SEC its definitive proxy

statement for the annual meeting and its prospectus for the issuance of up to 100 million shares of

stock to XL Hybrids’ shareholders in connection with the proposed Merger. The proxy statement

provided that holders of record of Pivotal stock at the close of business on December 7, 2020

would be entitled to vote at the annual meeting, on matters including the proposed Merger and

certain ancillary proposals necessary to complete the proposed Merger.

       125.    In its December 8, 2020 definitive proxy statement and prospectus, Pivotal provided

information regarding XL Hybrids’ order backlog, sales pipeline, and revenue forecasts.

       126.    Regarding backlog, Pivotal repeated that: “[a]s of September 25, 2020, XL has a

backlog of 961 firm purchase orders representing $12.3M in revenue. This backlog reflects the

manner in which XL believes its customers currently purchase commercial vehicles, with a typical

3 to 6 month lead time.”

       127.    Regarding the sales pipeline, Pivotal repeated that XL Hybrids had a “a $220

million 12-month sales pipeline,” and that “XL’s sales and marketing team uses a software tool to

track all sales opportunities to existing and potential customers, identifying specific vehicles and




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XL systems for such vehicles. This is used by XL management to create projections about future

aggregate sales pipeline opportunities for its existing products.”

       128.    Regarding revenue forecasts, Pivotal disclosed revenue forecasts for XL Hybrids of

$21 million for 2020, $75 million for 2021, $281 million for 2022, $648 million for 2023, and $1.4

billion for 2024. Pivotal also explained that “XL management reviews its sales opportunity

pipeline data and applies its historic conversion rates of sales pipeline and historical experience

with respect to lead time to create revenue projections.”

       129.    Pivotal stated that that “XL management believes that its revenue estimates and

committed backlog are important indicators of expected future performance,” and that “XL

believes that the size of its sales opportunity pipeline and committed backlog are important

indicators of future performance.”

F.     The Merger Between Pivotal And XL Hybrids Is Completed

       130.    On December 21, 2020, Pivotal held its annual meeting, and Pivotal shareholders

voted to approve the proposed Merger and ancillary proposals necessary to complete the proposed

Merger.

       131.    On December 21, 2020, XL Hybrids merged with a wholly-owned subsidiary of

Pivotal. The outstanding securities of XL Hybrids were converted into securities of Pivotal.

Pivotal changed its name to XL Fleet Corp.

       132.    Pivotal directors Efrat Epstein and Katrina Adams resigned effective December 21,

2020, and Kazarinoff, Hynes, Frodl, Flanagan, Griffin, Hayes, Ledecky, Ramdev, and Sclarsic

were appointed to serve as directors on Board of XL Fleet Corp. The Board appointed Defendant

Kazarinoff as CEO, Principal Financial Officer and Principal Accounting Officer, and appointed

Defendant Hynes as President. Defendants Ledecky and Brady resigned as officers of Pivotal.



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       133.   Also, on December 21, 2020, certain investors purchased shares of Pivotal/XL Fleet

Corp. for gross proceeds totaling $150 million in a private placement.

       134.   On December 21, 2020, Pivotal’s Units automatically separated into their

component stock and warrant securities. On December 22, 2020, Pivotal’s stock and warrants

ceased trading on the NYSE under the PIC and PIC WS ticker symbols, and began trading as XL

and XL WS, respectively.

       135.   Following the completion of the merger, XL Fleet Corp. reported that Defendant

Ledecky beneficially owned 7.3% of its common stock, Defendant Griffin beneficially owned

7.7%, Defendant Hynes beneficially owned 5.6%, and Defendant Kazarinoff beneficially owned

1.0%, making these individuals among XL Fleet Corp.’s largest shareholders.

       136.   On December 22, 2020, XL Fleet Corp. issued a press release reporting the

completion of the merger. The press release stated that XL Fleet received approximately $350

million in cash proceeds in connection with the merger, and touted the Company’s technology,

customer base, and future growth prospects.

G.     After the Merger, Defendants Continue To
       Make False Statements About XL Fleet’s Business

       137.   XL Fleet continued issuing press releases. Each of these press releases described

XL Fleet as follows: XL Fleet is a leading provider of vehicle electrification solutions for

commercial and municipal fleets in North America, with more than 145 million miles driven by

customers such as The Coca-Cola Company, Verizon, Yale University and the City of Boston. XL

Fleet’s hybrid and plug-in hybrid electric drive systems can increase fuel economy up to 25-50

percent and reduce carbon dioxide emissions up to 20-33 percent, decreasing operating costs and

meeting sustainability goals while enhancing fleet operations. XL Fleet’s plug-in hybrid electric

drive system was named one of TIME magazine's best inventions of 2019.

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       138.    On February 4, 2021, XL Fleet issued press releases entitled XL Fleet Partnering

with Curbtender to Develop All-Electric and Plug-in Hybrid Refuse Trucks, and on February 25,

2021 another press release entitled XL Fleet Becomes Electric Transportation Partner of UBS

Arena and the New York Islanders, Plans to Deploy 1,000 EV Charging Stations.

       139.    On December 23, 2020, Defendant Hynes gave an interview to CNBC’s Squawk on

the Street television program. When asked about XL Fleet’s revenue forecasts, Defendant Hynes

stressed the Company’s “great pipeline” and “tremendous interest from customers” in a “trillion

dollar global industry,” and that XL was “shipping hundreds of units per month,” before

concluding that “we’re in a great position to … really expand with the market which clearly has a

lot of demand.”

       140.    Defendant Hynes appeared on the CNBC television program Mad Money with Jim

Cramer on March 2, 2021 to promote XL Fleet’s previously reported plans to partner with UBS

Arena and the New York Islanders professional hockey team with respect to electric vehicle

charging stations.

       141.    On January 14, 2021, XL Fleet filed with the SEC a Registration Statement on Form

S-1 and preliminary prospectus, to register 55.8 million shares of common stock and 4.2 million

warrants. The securities to be registered related to (i) XL Fleet shares issuable on the exercise of

warrants issued by Pivotal at the time of its July 2019 IPO, (ii) XL Fleet warrants issued in the

December 2020 private placement, and (iii) XL Fleet shares issued or issuable in connection with

the December 2020 Business Combination to private placement investors, XL Hybrids’ directors

and officers, and private placement investors.

       142.    The January 14, 2021 Registration Statement repeated much of the information

regarding XL Fleet’s business contained in Pivotal’s October 2, 2020 Registration Statement on



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Form S-4 (as amended), and was false and misleading for similar reasons. The January 14, 2021

Registration Statement continued to tout XL’s business prospects, stating that “[w]e are one of

only a few companies that have deployed thousands of xEV powertrains in the Class 2-6

commercial fleet market in the U.S. and Canada, so we have established significant experience,

data and relationships enabling scalable production, supply chain and service compared to

competitors with relatively few systems in operation. We also have established global customers

and suppliers.”

       143.   On January 22, 2021, XL Fleet filed a prospectus. This prospectus was false and

misleading for similar reasons as the Registration Statement filed on January 14, 2021.

       144.   On February 26, 2020, XL Fleet’s Board voted to approve large salary and target

bonus increases for Defendants Kazarinoff and Hynes, based in substantial part on their 2020

performance. Kazarinoff’s 2021 base salary was increased to $440,000, representing 150% of his

2020 base salary of $292,500. Kazarinoff’s 2021 target bonus would be 70% of his (now greatly

increased) base salary, as compared to the previous 30%. Hynes’s 2021 base salary was increased

to $372,500, representing 165% of his 2020 base salary of $225,000. Hynes’s 2021 target bonus

would be 50% of his base salary (i.e., $186,250), more than double his 2020 target bonus of

$80,000.

H.     The Truth Emerges

       145.   On March 3, 2021, Muddy Waters published a report entitled XL Fleet Corp (NYSE

XL): More SPAC Trash. The report contained a number of revelations exposing Defendants’

fraud, based on interviews with former XL employees.

       146.   The Muddy Waters Report quoted a person it identified as Former XL Employee

A, as stating “I was paid to lie. I was paid to falsify and exaggerate my pipeline,” and quoted a



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Former XL Employee B as stating that she was instructed to record million-dollar sales

opportunities for customers who had no interest in XL’s products.

       147.    Muddy Waters reported that XL Fleet was plagued by undisclosed supply chain

failures, including an inability to procure the batteries that were vital components of all XL Fleet

products, and without which XL Fleet could not deliver its products to customers. Muddy Waters

quoted Former XL Fleet Employee A as stating that XL Fleet received almost zero batteries during

2019, and only a small number during the first half of 2020.

       148.    Muddy Waters also revealed that at least 18 of 33 high profile “customers” touted

by XL Fleet in investor presentations had not ordered any XL Fleet products from at least 2019

through the first half of 2020, and that only 10% of XL Fleet customers placed follow-up orders

due to disappointment with the actual results delivered by XL Fleet’s misleadingly exaggerated

technology.

       149.    Muddy Waters exposed XL Fleet’s falsification of customer mileage gains and

return on investment, as XL Fleet had advertised to prospective customers and in investor

presentations. While XL Fleet claimed that customers experienced gains of approximately 25%

in miles per gallon with XL Fleet’s hybrid product, Muddy Waters quoted former XL Fleet

employees as stating that this figure was based on testing conditions designed to maximize MPG,

and that in real world conditions customers usually experienced only 5-10% MPG improvement.

Muddy Waters similarly revealed that although XL Fleet advertised a 55.7% ROI for customers,

this was based on falsified MPG savings and other inputs, and that customers often experienced

zero or negative ROI with XL Fleet products.

       150.    And Muddy Waters reported that former XL Fleet employees “literally laughed out

loud at XL Fleet’s revenue projections.”



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       151.    On March 4, 2021, XL Fleet published a press release entitled XL Fleet Responds

to Recent Short-Seller Report, in which the entirety of the Company’s rebuttal of the highly

detailed and incriminating Muddy Waters report stated: “[t]he report contains numerous factual

inaccuracies, misleading statements, and flawed conclusions. The Company intends to respond in

due course.”

       152.    On March 10, 2021, Muddy Waters published a follow-up report entitled XL Fleet:

Not Denying Much, Still SPAC Trash, pointing out the XL Fleet had failed to deny many of the

key allegations from Muddy Waters’ initial March 3, 2021 report.

       153.    Reuters published an article on March 3, 2021 entitled XL Fleet shares tumble after

Muddy Waters takes short position. The article noted that shares had fallen as much as 19.5% that

day, and that Muddy Waters claimed the Company had “significantly exaggerated its order

backlog, that the return on investment for its products was likely negative, and that it would not be

able to compete with big car makers on electrification.”

       154.    On March 4, 2021, Business Insider published an article entitled XL slumps 205 as

famed investor Carson Block goes short, says the market is in a SPAC bubble full of ‘garbage.’

The article stated that “Block alleged XL Fleet was misleading investors with an inflated sales

backlog.” Carson Block is the founder and principal of Muddy Waters.

       155.    XL Fleet later admitted that the fall in its publicly traded stock price was caused by

the Muddy Waters Report. XL stated in its 2020 annual report on Form 10-K that “[i]n March

2021, an entity published an article containing certain allegations against us. This article and the

public response to such article, as well as other negative publicity, have adversely affected our

brand and reputation as well as our stock price,” and that “in March 2021, an entity published an




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article containing certain allegations against us that we believe has negatively impacted the trading

price of our Common Stock.”

       156.    On March 31, 2021, XL Fleet reported its fourth quarter 2020 and full year 2020

financial results, issuing a press release, and filing a current report on Form 8-K and an annual

report on Form 10-K with the SEC. In addition, on March 31, 2021, the XL Fleet management

team held a public conference call to discuss these results with investors.

       157.    Defendants reported $10.9 million in fourth quarter 2020 revenue, and $20.3

million in full-year 2020 revenue. As XL Fleet admitted in its annual report, much of this revenue

was attributable to belatedly filling orders previously delayed and backlogged due to a lack of

battery supplies, stating that “[o]f the $20.3 million in revenue for the year ended December 31,

2020, approximately $17.2 million of revenue was recognized during the second half of the year,

which was primarily due to the resolution of battery supply issues and seasonality in the order and

delivery of fleet vehicles,” and that “[r]esolving the battery supply issues allowed us to increase

production and fulfill orders in our outstanding backlog.”

       158.    Although Defendants had recently forecast $75 million in 2021 revenue, XL Fleet

announced that it now expected first quarter revenue of only $1 million and stated that it would no

longer provide full-year 2021 revenue guidance. Although Defendants had recently hyped XL

Fleet’s purportedly dramatic growth prospects, they admitted in the press release that the $1

million of first quarter 2021 revenue guidance as “roughly flat versus the prior year quarter.”

       159.    Defendants attempted to deflect blame for this about-face by making excuses in

their press release, quoting Defendant Kazarinoff as stating:

       “The world is electrifying – however, economies and businesses around the world
       continue to face ongoing impacts of the COVID-19 pandemic. As a result, we
       continue to experience significant friction including OEM delays amid microchip



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       and other shortages, and currently forecast first quarter 2021 revenue of
       approximately $1 million, or roughly flat versus the prior year quarter.”

       “Given this ongoing uncertainty and the potential for extended industry-wide
       issues, combined with typical seasonal patterns in our orders and a significant
       majority of revenues focused on the second half as in prior years, we are not
       currently providing formal full-year 2021 financial guidance. As these pressures
       abate, we expect to see a stronger market environment emerge later this year. In
       this scenario, we would expect to realize significant revenue growth in 2021,
       accompanied by even more pronounced seasonality and therefore weighting to the
       second half of the year.”

       160.   On XL Fleet’s March 31, 2021 earnings call, Canaccord Genuity analyst Jed

Dorsheimer questioned the severe drop off in projected revenues:

       I’m trying to reconcile the 90% drop in revenues Q4 to Q1. Could you maybe help
       with the backlog? Because backlog shouldn’t be affected. And if I look at the
       shortages from a chip perspective, I’m not seeing a drop that significant in terms of
       industry numbers. So . . . were things pulled into Q4 [2020] or are they just being
       pushed out into Q3 [2021]?

       161.   In response, Defendants Kazarinoff and Hynes evaded these questions, while

deflecting blame onto the COVID pandemic and seasonal ordering patterns.

       162.   On April 1, 2021, Canaccord Genuity issued a report lowering its price target for

XL Fleet from $30 to $10 “to reflect the lack of 2021 visibility.” The report stated that “XL

provided guidance for Q1 sales of $1M, versus consensus expectations of $7.9M. The company

attributes the shortfall to the auto industry’s chip shortage and COVID-19 headwinds. Given this

is the company’s first quarter as a public company, this comes as a major disappointment.”

       163.   Following XL Fleet’s release of fourth quarter and full-year 2020 earnings after the

close of trading on March 31, 2021, on April 1, 2021 XL’s stock closed at $7.89 per share, 12.1%

lower as compared to the prior day, on exceptionally high trading volume.




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       164.   Independent market observers interpreted the disappointing 2020 results and the

withdrawal of XL Fleet’s 2021 guidance as effectively a confirmation of the allegations of the

Muddy Waters Report.

          MATERIALLY FALSE AND MISLEADING STATEMENTS ISSUED

A.     September 18, 2020 Merger Announcement

       165.   On September 18, 2020, the Company announced the Merger Agreement had been

entered into by and among Pivotal, Merger Sub, and XL Hybrids. On that day, Pivotal and XL

Hybrids jointly issued a press release. This press release was also attached as Exhibit 99.1 to a

Form 8-K signed by Ledecky and filed with the SEC on September 18, 2020.

       166.   The September 18, 2020 press release reported that XL Fleet’s “rapidly deployable

technology solutions position it for long-term growth in a total addressable market that is greater

than $1 trillion[.]” The press release also stated, “XL has strong demand momentum with a $220

million 12-month sales pipeline and forecasted revenue of over $21 million in 2020 and $75

million in 2021.” The press release also stated that “[t]housands of XL units [were] already on the

road and over 130 million miles [had been] driven by its more than 200 customers, including

FedEx, The Coca-Cola Company, PepsiCo, Verizon, the City of Boston, Seattle Fire Department,

Yale University, and Harvard University.” Ledecky was quoted in the press release as stating,

“XL’s revenues are expected to more than triple in 2021, cementing its status as the leading

provider of vehicle electrification solutions for commercial and municipal fleet vehicles.”

       167.   The statements above were false and/or misleading because they failed to disclose

the following adverse facts:

              (a)     XL Fleet’s reported sales pipeline of $220 million was overstated;




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                  (b)    XL Fleet had been experiencing supply chain problems that impeded its

       ability to timely fill existing orders;

                  (c)    XL Fleet’s customers had low reorder rates, and its customer base was

       overstated because a large number of the customers touted by XL Fleet were inactive;

                  (d)    the quality and benefits of XL Fleet’s technology were overstated and that

       technology did not provide the MPG savings or ROI that XL Fleet represented to its

       customers;

                  (e)    XL Fleet’s revenue forecasts lacked a reasonable basis, omitted facts

       tending to undermine the accuracy of the projections, and were overstated; and

                  (f)    As a result of the foregoing omissions, the challenged statements presented

       a misleading impression of XL Fleet’s financial prospects, growth potential, and risk

       profile.

       168.       In addition, the statements above were false and/or misleading when made because:

                  (a)    XL Fleet’s technology was not “rapidly deployable” in light of XL’s supply

       chain problems; and

                  (b)    XL Fleet’s technology did not “position” XL Fleet for “long-term growth”

       because XL Fleet had overstated its technology’s capabilities when in fact this technology

       produced weak results and led to substantial customer attrition; and

                  (c)    The list of significant customers in the press release was misleading in light

       of the fact that several of the most prominent customers (including FedEx, The Coca-Cola

       Company, PepsiCo, and Verizon) were inactive and no longer ordering XL Fleet products.

       169.       On September 18, 2020, the Company held a conference call (the “September 18,

2020 Call”) to discuss the Merger. A transcript of the call was attached as Exhibit 99.3 to a Form



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8-K signed by Ledecky and filed with the SEC by Pivotal on September 18, 2020. On the

September 18, 2020 Call, Kazarinoff stated:

       We are proud of our differentiated position, with more units sold and more models
       available to meet customer needs. We have more than 3,200 units on the road today
       and are experiencing great momentum. We are shipping hundreds of additional
       units every month, putting us on target to deploy more than 4,000 systems by year-
       end and almost 10,000 units by the end of 2021. Additionally, our 9 available
       models today means we are more than double our closest competitor in offering the
       optionality and customization that the customer base really requires. Together with
       our scaled production capacity and significant customer base, we believe this
       establishes our leadership position in the market and a de-risked path to
       electrification.

                                                ***

       We have a 12-month rolling sales pipeline of more than 220 million dollars in
       potential new business opportunities, and we are on target to triple our 2020
       revenues versus last year. More importantly from our perspective is the growth
       we’ve been realizing in average order size, with our largest order in 2020 growing
       by more than 3x versus last year. This is reflective of what we refer to as a transition
       from trial to adoption. Traditionally, this is a very conservative industry – only
       adopting new technology after it’s been proven and is trusted, and we believe our
       order momentum is indicative of this transition for us and our customers.

       170.    On the September 18, 2020 Call, Kazarinoff promoted the Company’s ability to

increase its production capacity in very little time and claimed this would allow XL Fleet to “scale

at a rapid pace” to achieve “revenue up to approximately 1.5 billion dollars by 2024”:

       Through our approach, we can significantly increase our own production capacity
       in very little time. For example, we can obtain an additional 10,000 units of capacity
       for less than 500 thousand dollars in about 6 months – and we can get up to 100,000
       units of capacity for under 5 million dollars in less than 18 months.

       This is tremendous leverage, allows us to scale at a rapid pace, and differentiates
       us versus the competition.… We forecast to scale our revenue up to approximately
       1.5 billion dollars by 2024, which reflects approximately 6 percent of the total
       market.

       171.    On September 18, 2020 Call, Hynes also stated: “We have intentionally developed

a very scalable, asset-light business model that leverages the existing installation capacity of the



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industry and provides maximum flexibility to our continued growth. Overall, we believe this

positions us as a lower-risk path to electrification, providing electrification-as-a-service to our

customers as we deliver reliability, sustainability and financial returns.”

       172.    The statements above were false and/or misleading because they failed to disclose

the adverse facts set forth in ¶ 167.

       173.    In addition, the statements above were false and/or misleading when made because:

               (a)     The representations that XL Fleet’s business model was “very scalable” and

       that XL Fleet could “scale at a rapid pace” was false and misleading due to XL’s severe

       supply chain problems, which prevented XL Fleet from significantly increasing its

       production capacity in a short period of time; and

               (b)     The representation that XL Fleet faced a “de-risked path to electrification”

       misleadingly omitted the significant risks that XL Fleet faced concerning its supply chain,

       inactive customers, and the quality and reliability of its technology.

       174.    On September 18, 2020, the Company also issued an Investor Presentation which

was attached as Exhibit 99.2 to a Form 8-K signed by Ledecky and filed with the SEC on

September 18, 2020. The September 18, 2020 Investor Presentation stated that XL Fleet had a

“Broad portfolio of established, proven, cost-effective solutions for numerous classes/segments

with rapid product development capabilities” and its “Established production can scale to

100,000+ units annually and XL’s capital efficient operating model is ready to scale and drive

profitably.”

       175.    The September 18, 2020 Investor Presentation stated that XL’s “Power Train

Platform Is Proven, Flexible and Scalable” and emphasized that its platform allowed:

       Unique rapid integration of hardware and software
       - <1 month to integrate new OEM battery into vehicles

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       - <3 months to production (including crash testing)
       Quickly scaling across vehicle classes, OEM platforms and applications
       - <1 month to develop HEV for new OEM chassis
       - <6 months to production

       176.    The Investor Presentation also stated that XL Hybrids had a “Low Risk Path to

Dramatic Growth” that could be achieved by “[s]elling existing products to existing customers

through existing channels.”

       177.    On September 18, 2020, Hynes was interviewed on CNBC’s Squawk Box. A

transcript of this interview was filed as Exhibit 99.1 to a Form 8-K signed by Ledecky and filed

by Pivotal with the SEC on September 21, 2020. During the interview, Hynes stated that XL

Fleet’s “established supply chain production capacity” would enable it to scale and reach $75

million in revenue in 2021:

       We’re growing at 3X this year. We’ll do over 75 million in revenue next year.…
       So, you know, we have the established supply chain production capacity, we have
       a very low risk and low cost production process compared to other companies in
       the industry. So, we don’t have to invest hundreds of millions or billions of dollars
       into factories. We’re actually leveraging the existing production infrastructure
       and enabling us to scale without huge amounts of capital to build out that capacity.
       [Emphasis added].

       178.    The statements above were false and/or misleading because they failed to disclose

the adverse facts set forth in ¶ 167.

       179.    The October 2, 2020 Registration Statement also stated that the Company’s “sales

opportunity pipeline and committed backlog are important indicators of future performance”: Key

factors affecting XL Fleet’s operating results include its ability to increase sales of its current

product offerings and expand its product offerings in the future and customer demand for such

product offerings. XL Fleet believes that the size of its sales opportunity pipeline and committed

backlog are important indicators of future performance.




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        180.    The statements above were false and/or misleading because they failed to disclose

the adverse facts set forth in ¶ 167(a)-(b) and (e)-(f).

        181.    The October 2, 2020 Registration Statement further stated that XL Fleet and its

suppliers and OEMs had made improvements in XL Fleet’s supply chain during the second half

of 2020 that XL Fleet believed would “mitigate the supply disruptions experienced during the first

half of 2020” due to the COVID-19 pandemic:

        Revenues decreased by $1.2 million, or 27.6%, from $4.3 million in the six months
        ended June 30, 2019 to $3.1 million in the same period in 2020. The decrease was
        primarily due to disruptions in battery supply and disruptions in OEM vehicle
        production due to the COVID-19 pandemic. XL and its suppliers and OEMs have
        made improvements in XL’s supply chain during the second half of 2020 that XL
        believes will mitigate the supply disruptions experienced during the first half of
        2020.

        182.    The statements above were false and/or misleading because they failed to disclose

the adverse facts set forth in ¶ 167(b) and (f).

        183.    In addition, the statements above were materially false and/or misleading when

made because:

                (a)    The statements misleadingly implied that COVID-19 was solely or

       principally responsible for the battery shortages experienced by XL Fleet during the first

       half of 2020 and failed to disclose that XL Fleet had been suffering from severe battery

       shortages going back to at least May 2019;

                (b)    The statements failed to disclose that the battery shortages were due to XL’s

       lack of market power and leverage in the battery market, which was unrelated to COVID;

                (c)    The statements failed to disclose the severity, scope, and longstanding

       duration of the battery shortages; and




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               (d)       The statements failed to disclose that XL Fleet’s “mitigation” efforts were

       insufficient to secure enough batteries for the massive expansion of production that was

       contemplated by XL Fleet’s revenue forecast for 2021.

        184.   The October 2, 2020 Registration Statement claimed its relationships “enabl[ed]

scalable production, supply chain and service compared to competitors” and touted its “established

global customers and suppliers:”

        XL is one of only a few companies that have deployed thousands of xEV
        powertrains in the Class 2-6 commercial fleet market in the U.S. and Canada, so
        XL has established significant experience, data and relationships enabling scalable
        production, supply chain and service compared to competitors with relatively few
        systems in operation. XL also has established global customers and suppliers.
        [Emphasis added].

        185.   The statements above were false and/or misleading because they failed to disclose

the adverse facts set forth in ¶ 167(b), (f).

        186.   The October 2, 2020 Registration Statement noted the environmental standards that

XL was subject to and stated that “violations may also result in the suspension or revocation of

permits and licenses”:

        Environmental standards applicable to XL are established by the laws and
        regulations of the countries in which it operates, standards adopted by regulatory
        agencies and the permits and licenses that it holds. Each of these sources is subject
        to periodic modifications and increasingly stringent requirements. Violations of
        these laws, regulations or permits and licenses may result in substantial civil and
        criminal fines, penalties, orders to cease the violating operations or to conduct or
        pay for corrective works. In some instances, violations may also result in the
        suspension or revocation of permits and licenses. [Emphasis added].

        187.   The October 2, 2020 Registration Statement stated that XL Fleet’s systems are fitted

to vehicles that have been certified to meet the requirements of the California Air Resources Board

(“CARB”) and that XL Fleet had obtained the requisite Executive Orders (“EOs”) for prior model




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years and was in the process of EOs for future products. The October 2, 2020 Registration

Statement stated:

        CARB Emissions Compliance and Certification

        The XL hybrid and plug-in hybrid systems are fitted to vehicles that have been
        certified to meet the requirements of U.S. Environmental Protection Agency (the
        “EPA”) and California Air Resource Board (“CARB”). The OEMs are responsible
        for ensuring compliance with the appropriate regulations for the base vehicle for
        emissions, fuel economy and on board diagnostics. CARB classifies the XL system
        as an aftermarket fit system/device. As such, CARB requires that an Executive
        Order (“EO”) is obtained for the sale of the system intended for use on a vehicle to
        be operated in the state of California. In order to obtain the EO, XL is required to
        submit an application to CARB for each vehicle group or family, which is required
        for each model year. The vehicle models included in a group or family are
        determined by the level of commonality of vehicle systems on both the base vehicle
        and the hybrid or plug in hybrid systems that are fitted.

                                                ***

        XL has obtained a number of EOs for prior model years and is in the process of
        conducting testing against CARB issued test orders for future products to be
        introduced into the Californian market. EOs issued by CARB to XL are public
        record and are available to view on the CARB database for aftermarket,
        performance, and add-on parts. EOs also include requirements to collect data from
        vehicles in the field (in use data). [Emphasis added].

        188.   The statements above are false and/or misleading because they failed to disclose

that:

               (a)     XL Fleet had lost its CARB certification in 2019 and had been unable to

        secure re-approval in 2020, so XL Fleet could not sell its products in California;

               (b)     The risk warning concerning the potential revocation of permits or licenses

        presented as mere hypothetical risks adverse events that had already materialized; and

               (c)     The inclusion of California sales opportunities in XL Fleet’s sales pipeline,

        when XL Fleet was not permitted to sell its products in California, resulted in an artificial

        inflation of the pipeline and the revenue forecasts based on those pipeline figures.



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       189.    The October 2, 2020 Registration Statement touted the purported mileage gains

resulting from use of XL Fleet’s products:

       XL’s hybrid systems (branded as “XLH™”) have been proven to improve MPG by
       up to 25% over standard gas-powered vehicles, while reducing CO2 emissions by
       up to 20%. Its plug-in hybrid system, branded as “XL Plug-In™” or “XLP™, was
       named one of TIME magazine’s The 100 Best Inventions of 2019. It offers an even
       more significant improvement in these metrics, demonstrating up to a 50% MPG
       improvement and up to a 33% reduction in emissions. [Emphasis added].

       190.    The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(d).

       191.    The October 2, 2020 Registration Statement stated that in the judgment of Pivotal’s

board of directors, XL Fleet’s value was at least 80% of the assets held in Pivotal’s trust account.

While acknowledging that Pivotal’s board did not obtain a third-party valuation of XL Fleet, the

Registration Statement emphasized the “significant due diligence” conducted by Pivotal’s board

and concluded that the business experience of Pivotal’s directors entitled them to conclude that the

transaction was fair to Pivotal’s stockholders and the 80% test was satisfied:

       Pivotal’s board of directors did not obtain a third-party valuation or fairness
       opinion in connection with its determination to approve the Business Combination.
       Accordingly, investors will be relying solely on the judgment of Pivotal’s board of
       directors in valuing XL and assuming the risk that the Pivotal board may not have
       properly valued the business. However, Pivotal’s officers and directors have
       substantial experience in evaluating the operating and financial merits of
       companies from a wide range of industries and have substantial experience with
       mergers and acquisitions. Furthermore, in analyzing the Business Combination,
       Pivotal’s board of directors conducted significant due diligence on XL. Based on
       the foregoing, Pivotal’s board of directors concluded that its members’ collective
       experience and backgrounds, together with the experience and sector expertise of
       Pivotal’s advisors, enabled it to make the necessary analyses and determinations
       regarding the Business Combination, including that the Business Combination
       was fair from a financial perspective to its stockholders and that XL’s fair market
       value was at least 80% of the assets held in the trust account (excluding the
       deferred underwriting commissions and taxes payable on interest earned on the trust
       account) at the time of the agreement to enter into the Business Combination. There
       can be no assurance, however, that Pivotal’s board of directors was correct in its
       assessment of the Business Combination.

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After consideration of the factors identified and discussed in the section entitled
“The Business Combination Proposal—Pivotal’s Board of Directors’ Reasons for
Approval of the Business Combination,” Pivotal’s board of directors concluded that
the Merger met all of the requirements disclosed in the prospectus for Pivotal’s
initial public offering, including that XL has a fair market value equal to at least
80% of the balance of the funds in the trust account (excluding the amount of
deferred underwriting commissions held in trust) at the time of the execution of the
Merger Agreement. [Emphasis added].

192.   Furtther, the October 2, 2020 Registration Statement stated:

Satisfaction of 80% Test

It is a requirement under Pivotal’s current amended and restated certificate of
incorporation that any business acquired by Pivotal have a fair market value equal
to at least 80% of the balance of the funds in the trust account (excluding the
deferred underwriting commissions and taxes payable) at the time of the execution
of a definitive agreement for an initial business combination. Based on the
financial information used to approve the Business Combination described
herein, Pivotal’s assessment that XL’s valuation was attractive compared to its
competitive peers and the other information described herein, Pivotal’s board of
directors determined that this requirement was met. In reaching this
determination, Pivotal’s board of directors concluded that it was appropriate to base
such valuation on a number of qualitative factors, such as management strength and
depth, competitive positioning, customer relationships and technical skills, as well
as quantitative factors, such as the historical performance of XL and the potential
for future growth in revenues and profits of XL, rather than rely on any one factor.
Pivotal’s board of directors believes that the financial skills and background of its
members qualify it to conclude that the acquisition met the 80% requirement.

                                        ***

Recommendation of Pivotal’s Board of Directors

After careful consideration of the matters described above, particularly XL’s
position in its industry, potential for growth and profitability, the experience of
XL’s management and XL’s competitive positioning, its customer relationships and
technical skills, Pivotal’s board determined unanimously that each of the
business combination proposal and the other proposals to be presented at the
annual meeting are fair to and in the best interest of Pivotal’s stockholders ….
Pivotal’s board of directors has approved and declared advisable and unanimously
recommend that you vote or give instructions to vote “FOR” each of these proposals
and “FOR” each of nine director nominees identified in this proxy

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       statement/prospectus to serve as directors of the combined company. [Emphasis
       added].

       193.    The statements above were materially false and/or misleading when made because

they failed to disclose the following adverse facts:

               (a)    XL Fleet’s value was not equal to at least 80% of the balance of funds in

       Pivotal’s trust account, for all of the reasons set forth in ¶ 167(a)-(f);

               (b)    For the same reasons, the proposed business combination was not in the best

       interests of Pivotal’s stockholders;

               (c)    The determinations by Pivotal’s board of directors concerning XL Fleet’s

       valuation and the fairness of the transaction lacked a reasonable basis, because Pivotal’s

       directors either knew the adverse facts or would have known those facts had they engaged

       in the extensive due diligence that they claimed they conducted; and

               (d)    For the additional reasons, Pivotal’s directors, including Ledecky and

       Griffin, knew or were severely reckless in not knowing the adverse facts that seriously

       undermined XL Fleet’s putative value and the accuracy of XL Fleet’s projections.

       194.    The October 2, 2020 Registration Statement claimed that XL Fleet’s management

believed that the assumptions and estimates on which the XL Fleet’s revenue forecast was based

were reasonable and based on the best then-currently available information: costs are based are

believed by XL’s management to be reasonable and based on the best then-currently available

information, the financial forecasts are forwardlooking statements that are based on assumptions

that are inherently subject to significant uncertainties and contingencies, many of which are

beyond XL Fleet’s control.

       195.    The October 2, 2020 Registration Statement incorporated XL Fleet management’s

forecast that XL Fleet would achieve revenues of approximately $21 million in 2020 and revenues

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of approximately $75 million in 2021. The Registration Statement also claimed that XL Fleet’s

management prepared its projections on a “reasonable basis” which “reflects the best currently

available estimates and judgments”:

       XL does not as a matter of course make public projections as to future sales,
       earnings or other results. However, XL’s management has prepared the prospective
       financial information set forth below to present the key elements of the forecasts
       provided to Pivotal. The accompanying prospective financial information was not
       prepared with a view toward public disclosure or with a view toward complying
       with the guidelines established by the American Institute of Certified Public
       Accountants with respect to prospective financial information, but, in the view of
       XL’s management, was prepared on a reasonable basis, reflects the best currently
       available estimates and judgments, and presents, to the best of management’s
       knowledge and belief, the expected course of action and the expected future
       financial performance of XL.

                                                 ***

       The key elements of the forecasts provided to Pivotal, which assumes accelerating
       sales of XL’s existing Class 2-6 hybrid electric vehicle and plug-in hybrid electric
       vehicle solutions bolstered by the commencement of sales of XL’s all-electric
       solutions for Class 4-6 vehicles and xEV solutions for Class 7-8 vehicles in 2022,
       are summarized in the table below:




       196.    The statements above were false and/or misleading when made because they failed

to disclose the following adverse facts:

               (a)    The revenue forecasts prepared by XL Fleet management lacked a

       reasonable basis, for all of the reasons set forth in ¶ 167(a)-(f);


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               (b)     XL Fleet management was directly involved in the pipeline inflation

        scheme;

               (c)     XL management was aware of the supply chain disruptions and shortages;

               (d)     XL management was aware of low customer reorder rates and that many of

        the prominent customers they chose to tout had been inactive;

               (e)     XL management was aware that XL’s technology did not provide the MPG

        savings or ROI to customers that XL represented; and

               (f)     XL management was aware that XL’s revenue projections lacked a

        reasonable basis and were materially overstated.

D.     The October 26, 2020 Press Release And Form 8-K

        197.   On October 26, 2020, Pivotal and XL issued a press release. This press release was

also attached as Exhibit 99.1 to a Form 8-K signed by Ledecky and filed with the SEC on October

26, 2020. The press release stated: “The Company is revenue-generating today with strong

demand momentum, including a $220 million 12-month sales pipeline and forecasted revenue of

over $21 million in 2020 and $75 million in 2021.”

        198.   The statement above was false and/or misleading when made because it failed to

disclose the adverse facts set forth in ¶ 167(a)-(f).

E.     The October 26, 2020 SPACInsider Webinar And October 28, 2020 Form 8-K

        199.   On October 26, 2020, representatives of Pivotal and XL participated in a webinar

hosted by SPACInsider. Pivotal attached a copy of the transcript of the webinar as Exhibit 99.1 to

a Form 8-K signed by Ledecky and filed with the SEC on October 28, 2020.

        200.   At the October 26, 2020 webinar, Kazarinoff stated:




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        We’ve already got established scaled production, a scaled customer base. So, we
        truly are in the lead here in North America and our position to keep that lead for
        years to come.

                                                  ***

        Our individual order sizes have been growing rapidly as we’re seeing folks go
        from trial to actual adoption, and we’ve got a 12 months sales pipeline that now
        is over $240 million, which we feel is going to support our forecast for next year
        of $75 million in revenue. We are currently tripling revenue here in the middle of
        this pandemic, despite some of those challenges and on track for $21 million in
        revenue in 2020. [Emphasis added].

        201.   The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(a)-(f).

        202.   At the October 26, 2020 webinar, Hynes stated that “vehicles are getting built and

then shipped to the end customer, again, anywhere in the U.S. or Canada” and “We’re in about

every state except for Alaska at this point.”

        203.   The statements above were false and/or misleading when made because they failed

to disclose that:

               (a)     XL had lost its CARB certification in 2019 and had been unable to secure

       re-approval in 2020, so XL could not sell its products in California.

               (b)     The inclusion of California sales opportunities in XL’s sales pipeline, when

       XL was not permitted to sell its products in California, resulted in an artificial inflation of

       the pipeline and the revenue forecasts based on those pipeline figures.

        204.   Further, at the October 28, 2020 webinar, Kazarinoff stated that “we’re leveraging

that existing network and we can ramp-up our own preassembly and logistics operation to that

100,000 unit a year level with less than $5 million in investment in less than 18 months. So, we’ve

already got an established business model that’s very scalable.”




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        205.   The moderator at the webinar asked how the Company was able to achieve rapid

installation for a large order and Kazarinoff replied: “our network of upfitters folks we already

have agreements with. They’ve got over a hundred locations around North America with capacity

to process large numbers of vehicles.” Hynes added: “we have been getting increasingly large

orders from major fleet customer over the years. So this is something that we’ve already done and

we can definitely scale and continue to accelerate with more and more customers who are

buying at this size.” [Emphasis added].

        206.   The statements above were materially false and/or misleading when made because

they failed to disclose the adverse facts set forth in ¶ 167(b), (f).

F.     The November 12, 2020 Press Release

        207.   On November 12, 2020, XL Fleet issued a press release reporting its third quarter

2020 financial results. This press release was also filed by Pivotal with the SEC pursuant to Rule

425 under the Securities Act of 1933 on November 12, 2020. The press release stated:

        Due to strong year-to-date results, XL remains on track to deliver on its full year
        2020 revenue forecast of approximately $21 million. XL continues to grow its sales
        opportunity pipeline for 2021 to $220 million as of today, which supports XL’s
        current revenue forecast of $75 million for fiscal year 2021.

                                                  ***

        “Fleet electrification is a massive long-term opportunity supported by favorable
        market and regulatory trends and an enduring focus on the decarbonization of
        operations by fleet owners globally,” said Tod Hynes, Founder and Chief Strategy
        Officer of XL. “We are committed to delivering solutions that meet our customers’
        sustainability objectives and reliability requirements through products and services
        available today. Moreover, XL’s strong track-record, long-term relationships, and
        established supply chain partnerships continue to provide opportunities to
        further scale our business and broaden our product portfolio.” [Emphasis
        added].

        208.   The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(a)-(f).

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G.     The November 12, 2020 Amendment To The Registration Statement

        209.   On November 12, 2020, Pivotal filed an amendment to the October 2, 2020

Registration Statement on Form S-4/A with the SEC (the “November 12, 2020 Amendment).

        210.   With respect to XL’s backlog, the November 12, 2020 Amendment added the

following language:

        XL’s sales and marketing team uses a software tool to track all sales opportunities
        to existing and potential customers, identifying specific vehicles and XL systems
        for such vehicles. This is used by XL management to create projections about future
        aggregate sales pipeline opportunities for its existing products. XL management
        reviews its sales opportunity pipeline data and applies its historic conversion rates
        of sales pipeline and historical experience with respect to lead time to create
        revenue projections. XL management believes that its revenue estimates and
        committed backlog are important indicators of expected future performance.
        [Emphasis added].

        211.   The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(a)-(b) and (e)-(f).

        212.   In addition, the statements above were false and/or misleading when made because:

               (a)     Backlog presented a misleading indicator of future performance due to XL’s

       severe supply shortages, which prevented XL from timely converting backlog into revenue.

               (b)     XL lacked the supplies necessary to fill existing purchase orders within the

       “3 to 6 month lead time” that XL represented to be “typical.”

        213.   With respect to battery supply, the November 12, 2020 Amendment revised the risk

factor disclosure:

        Increases in costs, disruption of supply or shortage of XL’s components,
        particularly battery cells, could harm its business.

        In the production of its electrified powertrain solutions, XL has experienced and
        in the future may again experience increases in the cost or a sustained
        interruption in the supply or shortage of its components. Any such increase or
        supply interruption could materially negatively impact XL’s business, prospects,
        financial condition and operating results. The prices for XL’s components fluctuate

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        depending on market conditions and global demand and could adversely affect its
        business, prospects, financial condition and operating results. For instance, XL is
        exposed to multiple risks relating to price fluctuations for battery cells. These risks
        include:

        •       the inability or unwillingness of current battery manufacturers to build or
                operate battery cell production facilities to supply the numbers of battery
                cells required to support the growth of the electric vehicle industry as
                demand for such cells increases;

        •       disruption in the supply of cells due to quality issues or recalls by the battery
                cell manufacturers; and

        •       an increase in the cost of raw materials.

        Any disruption in the supply of battery cells could temporarily disrupt production
        of XL’s electrified powertrain solutions until a different supplier is fully qualified.

        Moreover, battery cell manufacturers may refuse to supply electric vehicle
        manufacturers if they determine that the vehicles are not sufficiently safe.
        Furthermore, fluctuations or shortages in petroleum and other economic conditions
        have in the past and may again in the future cause XL to experience significant
        increases in freight charges. Substantial increases in the prices for raw materials
        have in the past and may again in the future increase the cost of XL’s components
        and consequently, the costs of products. There can be no assurance that XL will be
        able to recoup increasing costs of its components by increasing prices, which could
        reduce its margins. [Emphasis added].

        214.    The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(b) and (f).

        215.    In addition, the statements above were materially false and/or misleading when

made because the risk warnings failed to disclose specific facts concerning XL’s pre-existing

shortages and supply problems that were necessary for investors to understand the magnitude of

the risks at issue.

        216.    The November 12, 2020 Amendment made two new additional disclosures

concerning the supply chain and battery supply issues. First, Pivotal stated:

        In the first half of 2020 as result of the COVID-19 pandemic, XL experienced
        multiple supply and service disruptions impacting XL’s HEV product line. XL’s

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       primary battery test facility, halted testing of XL’s HEV battery, preventing the
       validation of a newly designed battery. After several weeks, XL was able to find
       an alternate test facility, to restart the battery validation. This required sourcing,
       contracts, test plan development, training, and movement of essential hardware and
       equipment from the original location in New York to California resulting in a
       several month delay. Both test facility service providers are procured under a
       purchase order service arrangement.

       Further, an XL battery supply partner, operating under a multi-year non-exclusive
       supply agreement with volume and pricing commitments, had significant supply
       disruptions in the April-May timeframe due to sub-supplier impacts on the Indiana
       and Michigan labor forces. In addition, Ford Component Sales (FCS), with whom
       we procure battery components under a month to month purchase order, had battery
       supply disruptions with a temporary closure of its manufacturing plant in
       Rawsonville, Michigan. This closure impacted the supply of HEV batteries to XL
       by several weeks.

       217.    November 12, 2020 Amendment also stated:

       Revenues increased by $2.5 million, or 36.6%, from $6.9 million in the nine months
       ended September 30, 2019 to $9.5 million in the same period in 2020. The increase
       was primarily due to the resolution of battery supply issues, increased end customer
       demand and increased order sizes. During the quarter ended September 30, 2020,
       XL, its suppliers and OEMs made improvements to XL’s supply chain, including
       sourcing an additional battery supplier, which helped to counteract the negative
       impact of the COVID-19 pandemic on XL’s business in prior quarters. Of the $9.5
       million in revenue for the nine months ended September 30, 2020, approximately
       $6.4 million of revenue was recognized during the three months ended September
       30, 2020, which was primarily due to the resolution of battery supply issues.
       Resolving the battery supply issues allowed XL to increase production and fulfill
       orders in its outstanding backlog.

       Based upon XL’s current production throughput and its current backlog of orders,
       and subject to any further unforeseen supply chain disruptions caused by the
       COVID-19 pandemic, XL anticipates revenues for the year ending December 31,
       2020 to be approximately $21 million. [Emphasis supplied].

       218.    The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(b) and (f).

       219.    In addition, the statements above were false and/or misleading when made because:

               (a)     The statements misleadingly implied that COVID-19 was solely or

       principally responsible for the battery shortages experienced by XL during the first half of

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        2020 and failed to disclose that XL had been suffering from severe battery shortages going

        back to at least May 2019;

                (b)    The statements failed to disclose that the battery shortages were due to XL’s

        lack of market power and leverage in the battery market, which was unrelated to COVID;

                (c)    The statements failed to disclose the severity, scope, and longstanding

        duration of the battery shortages; and

                (d)    The statements misleadingly suggested that the battery supply issues had

        been “resolv[ed]” and failed to disclose that the “improvements to XL’s supply chain” were

        insufficient to secure enough batteries for the massive expansion of production that was

        contemplated by XL’s revenue forecast for 2021.

        220.    With respect to the satisfaction of the test that XL’s value be equal to at least 80%

of the assets in Pivotal’s trust account, the November 12, 2020 Amendment revised the statement

to state:

        Satisfaction of 80% Test

        It is a requirement under Pivotal’s current amended and restated certificate of
        incorporation that any business acquired by Pivotal have a fair market value equal
        to at least 80% of the balance of the funds in the trust account (excluding the
        deferred underwriting commissions and taxes payable) at the time of the execution
        of a definitive agreement for an initial business combination. The balance of the
        funds in Pivotal’s trust account (excluding deferred underwriting commissions and
        taxes payable) at the time of the execution of the Merger Agreement with XL was
        approximately $223 million. In determining whether the 80% requirement was met,
        rather than relying on any one factor, Pivotal’s board of directors concluded that it
        was appropriate to base such valuation on a number of qualitative factors, such as
        management strength and depth, competitive positioning, customer relationships
        and technical skills, as well as quantitative factors, such as the anticipated implied
        enterprise value of the combined company being approximately $1 billion with no
        material debt expected to be outstanding, Pivotal’s assessment that XL’s valuation
        was attractive compared to its competitive peers, the historical performance of XL
        and the potential for future growth in revenues and profits of XL and a $220
        million 12-month sales pipeline. Based on the qualitative and quantitative
        information used to approve the Business Combination described herein, Pivotal’s

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       board of directors determined that the foregoing 80% fair market value requirement
       was met. Pivotal’s board of directors believes that the financial skills and
       background of its members qualify it to conclude that the acquisition met the 80%
       requirement. [Emphasis added].

       221.    The statements above were false and/or misleading when made because they failed

to disclose the following adverse facts:

               (a)      XL’s value was not equal to at least 80% of the balance of funds in Pivotal’s

       trust account;

               (b)      The determination by Pivotal’s board of directors concerning XL’s

       valuation lacked a reasonable basis, because Pivotal’s directors either knew the adverse

       facts or would have known those facts had they engaged in the extensive due diligence that

       they claimed they conducted; and

               (c)      Pivotal’s directors knew or were severely reckless in not knowing the

       adverse facts that seriously undermined XL’s putative value and the accuracy of XL’s

       projections.

H.     The November 16, 2020 Press Release And Form 8-K

       222.    On November 16, 2020, XL Fleet issued a press release entitled XL Fleet Expands

XLP™ Plug-in Hybrid Electric Drive System For Use in Multiple GM Fleet Applications. This

press release was also attached as Exhibit 99.1 to a Form 8-K signed by Ledecky and filed with

the SEC by Pivotal on November 16, 2020. The Company claimed it was able to “immediately

serve this market:”

       “Companies and municipalities are focused on electrifying a larger percentage of
       their fleets, while ensuring they uphold their performance and operational
       requirements,” said Tod Hynes, Founder and Chief Strategy Officer of XL Fleet.
       “XL’s ability to electrify a wide range of commercial applications from the world’s
       leading vehicle manufacturers allows us to immediately serve this market with
       proven, high performance vehicles that are already designed and specified for the
       rigorous duty cycles of fleets.” [Emphasis added]

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        223.   The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(b), (d), and (f).

I.     The November 16, 2020 IPO Edge Webinar And November 19, 2020 Form 8-K

        224.   On November 16, 2020, Hynes participated in a webinar hosted by IPO Edge. On

November 19, 2020, the Company attached a copy of the transcript of that webinar as Exhibit 99.1

to a Form 8-K signed by Ledecky and filed with the SEC. Hynes stated: “We have a very low cost

and highly scalable production capacity that leverages the existing manufacturing capacity of the

industry. So our systems get installed as the vehicles are manufactured and then shipped anywhere

in the country and end up as brand new vehicles at the customer’s location.”

        225.   The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(b) and (f).

J.     Hynes’ November 23, 2020 Interview With TD Ameritrade
       And The November 27, 2020 Form 8-K

        226.   On November 23, 2020, Defendant Hynes participated in an interview with TD

Ameritrade. On November 27, 2020, Pivotal attached a copy of the transcript of that interview as

Exhibit 99.1 to a Form 8-K. Hynes stated:

        We’re putting more units on the road now than any of our competitors and we’ve
        got some great customers coming back to buy more and we’re really scaling up
        across the country and have a very low cost installation structure compared to
        others in the market who are trying to bring new products in.

                                                  ***

        So we’re very excited, we’re in a great position. Again, we are a first mover; we
        have gotten great feedback from our customers and our installation partners.
        Other major players in the industry for example, batteries supply, we now have
        multiple battery suppliers for our technology. So it is really exciting to be closing
        on this transaction having plenty of capital to really execute that in scale and
        extremely rapidly in 2021 and beyond. [Emphasis added].



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        227.   The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(b) and (f).

L.     The December 11, 2020 Press Release And Form 8-K

        228.   On December 11, 2020, XL issued a press release entitled XL Fleet Launches Pilot

Program with Essential Utilities, Inc. to Electrify its Utility Fleet. In addition, on December 11,

2020, Pivotal attached a copy of the press release as Exhibit 99.1 to a Form 8-K signed by Ledecky

and filed with the SEC. The December 11, 2020 press release stated: “XL Fleet’s electrified

powertrain technology is a perfect fit for companies like Essential, who are looking to immediately

electrify their fleet vehicles, but also have demanding drive cycles and performance requirements

that need to be met,” said Brian Piern, Vice President of Sales and Marketing at XL Fleet.

        229.   The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(b), (d), and (f).

M.     The December 22, 2020 Press Release

        230.   On December 22, 2020, Pivotal issued a press release entitled XL Fleet, a Leader

in Commercial Vehicle Electrification, and Pivotal Investment Corporation II Announce Closing

of Merger; XL Fleet to Trade on NYSE as ‘XL’. The press release touted the Company’s “growth

strategy,” “firmly established supply chain, and deep OEM relationships,” and “highly scalable

business model”:

        “Today is a significant milestone for XL Fleet and our employees and an important
        step forward for the commercial vehicle industry as we transform commercial fleets
        to build a more sustainable world,” said Dimitri Kazarinoff, XL Fleet’s Chief
        Executive Officer. “The closing of our merger with Pivotal will empower us to
        accelerate our growth strategy and bolster the industry’s most comprehensive fully
        integrated fleet electrification platform, encompassing realtime data monitoring
        and analytics, propriety powertrain technology, power management, charging and
        storage. Our tested products, strong presence in the U.S. and Canada, firmly-
        established supply chain, and deep OEM relationships position XL Fleet as the
        partner-of-choice for our blue-chip customer base who recognize us as a key

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        partner in helping them to meet their sustainability goals efficiently and at a lower
        cost.”

                                                  ***

        “We appreciate the overwhelming support received from shareholders of Pivotal,
        including 99.88% votes cast in favor of the merger between Pivotal and XL Fleet,”
        said Mr. Ledecky. “We are exceptionally proud of XL Fleet’s success to date and
        are excited to continue to support the Company and its talented team as it transitions
        to the public markets. With thousands of proven systems on the road today, millions
        of miles driven by hundreds of customers in mission-critical applications, and an
        asset light, highly scalable business model, I believe that XL Fleet is poised to
        realize its vision of becoming a world leader in fleet electrification.” [Emphasis
        added].

        231.     The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(a)-(f).

N.     Hynes’ December 23, 2020 CNBC Interview

        232.     On December 23, 2020, Hynes was interviewed on CNBC and was asked about the

Company’s growth projections and Hynes touted the Company’s sales pipeline and their ability to

meet the market’s strong demand:

        Question:       I think 2020 forecasted revenue of 21 million, 2021 75 million, but
                        then 2024 forecasted 1.4 billion. How do you get to that number?
                        What is your expectation in terms of some of those different levers
                        that you just laid out for growth?

        Hynes:          Well, we’re growing extremely quickly; we’re tripling our revenue
                        in the middle of a pandemic, and I think we would we could have
                        done more without the pandemic. So we have a great pipeline going
                        into 2021 and we also have a very good platform to build off of and
                        introduce a lot more technology and product offerings. … We’re
                        clearly leading, shipping hundreds of units per month right now. So
                        we’re in a great position to really expand with the market, which
                        clearly has a lot of demand. [Emphasis added].

        233.     The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(a)-(f).

O.     The January 13, 2021 Registration Statement And January 22, 2021 Prospectus

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       234.   On January 13, 2021, the Company filed a Registration Statement on Form S-1 with

the SEC and on January 22, 2021, the Company filed a related Prospectus with the SEC (the

“January 22, 2021 Prospectus”), which formed part of the January 13, 2021 Registration

Statement.

       235.   The January 13, 2021 Registration Statement and the related January 22, 2021

Prospectus both stated:

       Revenues increased by $2.5 million, or 36.6%, from $6.9 million in the nine months
       ended September 30, 2019 to $9.5 million in the same period in 2020. The increase
       was primarily due to the resolution of battery supply issues, increased end
       customer demand and increased order sizes. During the quarter ended September
       30, 2020, we, along with our suppliers and OEMs, made improvements to our
       supply chain, including sourcing an additional battery supplier, which helped to
       counteract the negative impact of the COVID-19 pandemic on our business in prior
       quarters. Of the $9.5 million in revenue for the nine months ended September 30,
       2020, approximately $6.4 million of revenue was recognized during the three
       months ended September 30, 2020, which was primarily due to the resolution of
       battery supply issues. Resolving the battery supply issues allowed us to increase
       production and fulfill orders in our outstanding backlog. Based upon our current
       production throughput and our current backlog of orders, and subject to any further
       unforeseen supply chain disruptions caused by the COVID-19 pandemic, we
       anticipate revenues for the year ending December 31, 2020 to be approximately
       $19 million to $21 million.

                                                ***

       Revenues increased by $3.74 million, or 144.2%, from $2.59 million in the three
       months ended September 30, 2019 to $6.33 million in the same period in 2020. The
       increase was primarily due to the resolution of battery supply and in OEM vehicle
       production and due to increased end customer demand for our systems. We and our
       suppliers and OEMs have been making improvements in our supply chain during
       the second half of 2020, including sourcing an additional battery supplier, all of
       which have been impacted by the COVID-19 pandemic. This third quarter revenue
       increase was attributable to the aforementioned resolution of the first and second
       quarter supply chain challenges, which allowed us to ramp up production and ship
       an increasing number of kits to help fulfill our outstanding backlog of customer
       orders. Based upon our current production throughput, we believe that we can
       produce and sell more kits in the fourth quarter than in the third quarter, which
       we believe will enable us to fulfill even more of our outstanding backorders. This
       said, it is very difficult for us to precisely gauge the impact on us, our suppliers and

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       our customers given the uncertainties surrounding the COVID-19 pandemic and
       the geo-political and economic climate. Based upon our current production
       throughput and its current backlog of orders, and subject to any further unforeseen
       supply chain disruptions caused by the COVID-19 pandemic, we anticipate
       revenues for the year ending December 31, 2020 to be approximately $19 million
       to $21 million. [Emphasis added].

       236.    The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(b) and (f).

       237.    In addition, the statements above were false and/or misleading when made because:

               (a)     The statements misleadingly implied that COVID-19 was solely or

       principally responsible for the battery shortages experienced by XL during the first half of

       2020 and failed to disclose that XL had been suffering from severe battery shortages going

       back to at least May 2019;

               (b)     The statements failed to disclose that the battery shortages were due to XL’s

       lack of market power and leverage in the battery market, which was unrelated to COVID;

               (c)     The statements failed to disclose the severity, scope, and longstanding

       duration of the battery shortages; and

               (d)     The statements misleadingly suggested that the battery supply issues had

       been “resolv[ed]” and failed to disclose that the “improvements to XL’s supply chain” were

       insufficient to secure enough batteries for the massive expansion of production that was

       contemplated by XL’s revenue forecast for 2021.

P.     The March 8, 2021 Press Release

       238.    On March 8, 2021, the Company issued a press release responding to Muddy Water:

       In fact, XL Fleet’s management team has a track record of successfully
       navigating global supply chain challenges and a highly competitive operating
       environment. For example, in 2019, XL Fleet, as well as major vehicle
       manufacturers, were impacted by a component shortage that affected battery
       supply. XL Fleet has since established a more robust and reliable supply chain,

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       and now has multiple battery suppliers and proprietary battery packs in place.
       [Emphasis added].

       239.    The statements above were false and/or misleading when made because they failed

to disclose the adverse facts set forth in ¶ 167(b) and (f).

       240.    Further, the statements above were false and/or misleading when made because:

               (a)     At the time that XL made this statement, XL was experiencing severe supply

       shortages that would cause XL to record only $675,000 in revenue for Q1 2021 and to

       withdraw its full-year revenue forecast for 2021 of $75 million. By the time this statement

       was made, Q1 2021 was already more than two-thirds complete, so Defendants already

       knew that the supply shortages were having a material adverse effect on XL’s financial

       results. A little more than three weeks after XL issued this denial of the Muddy Waters

       allegations, XL was forced to admit that it had not able to fill any orders for “a lengthy

       period early in the year” due to “ongoing OEM delays, amid microchip and other

       shortages.”

               (b)     It was misleading for XL to aggressively deny Muddy Waters’ allegations

       that XL suffered from serious supply chain problems at the very moment that XL was in

       the middle of a production shutdown due to supply chain problems.

               (c)     The context of Muddy Waters’ allegations rendered XL’s statements

       particularly misleading. Muddy Waters had claimed that XL “had significant supply chain

       woes indicative of a bit player” and that “XL has been subject to supply shortages for

       years.” XL responded by claiming it had “a track record of successfully navigating global

       supply chain challenges” and that, notwithstanding battery supply problems in 2019, XL

       had “since established a more robust and reliable supply chain.”

                              THE TRUTH BEGINS TO EMERGE

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       241.   On March 3, 2021, Muddy Waters published a report entitled XL Fleet Corp.

(NYSE: XL): More SPAC Trash, alleging that salespeople “were pressured to inflate their sales

pipelines” and that “customer reorder rates are in reality quite low” due to “poor performance and

regulatory issues.” Citing interviews with former employees, the report alleged that “at least 18

of 33 customers XL featured were inactive.” The report stated:

       XL MANAGEMENT SYSTEMATICALLY INFLATES THE COMPANY’S
       BACKLOG

       XL claims a backlog of $220+ million. This number is key to XL’s sales
       projections, appearing twice in XL’s SPAC slide deck. However, our conversations
       with former employees suggest XL’s “pipeline” is a fiction created under pressure
       from senior managers. We understand that the rot emanates from XL management,
       who further embellished their employees’ already exaggerated pipeline entries.

                                             ***
       XL’S CLAIMED CUSTOMER BASE APPEARS GROSSLY OVERSTATED
       Below is XL’s stated customer list, which includes 33 logos.[] Former employees
       told us that many of these had not ordered vehicles for a long time. In a March 2,
       2021 appearance on CNBC with Jim Cramer, XL CEO Tod Hynes deflected a
       question about whether its customers include some of the names below.




                                 ***
       WE UNDERSTAND FROM FORMER EMPLOYEES THAT AT LEAST 18 OF
       33 CUSTOMERS XL FEATURED WERE INACTIVE

       The list shrinks by over half after removing reportedly inactive customers:



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                                              ***

       NUMEROUS XL CUSTOMERS REPORTEDLY HAVE NOT REORDERED
       DUE TO POOR PERFORMANCE AND REGULATORY ISSUES

       We believe that XL’s high customer attrition rate stems from XL’s lack of
       engineering edge, its misleading efficiency claims, and its substantial issues with
       regulatory approval. [footnote omitted]

       “Almost no one reorders... it’s maybe 10%. To get your order in the first place, it’s
       a months and months wait, you’re angry, and then the thing doesn’t work as
       promised. ‘6% improvement for $15,000? We’re not going to buy any more of these
       things.’” – Former XL Employee A. [Emphasis in original].

       242.    Muddy Waters also alleged that while XL Fleet “claims that its technologies leads

to 25%+ MPG gains,” in reality “fleet savings are generally only 5% to 10%, and are sometimes

negative.” It stated:

       XL SEEMINGLY DOES NOT ACHIEVE STATED MPG GAINS OR
       GENERATE CLAIMED ROIs FOR CUSTOMERS

       There are two elements to XL’s misrepresentations to its customers – exaggerated
       mileage gains and aggressive ROI modeling assumptions. Based on our
       conversations with former XL employees, we conclude that the company’s
       technology seldom – if ever – generates the advertised 25-50% fuel savings. We
       estimate the savings is really only 5% - 10%. Three former employees told us that
       they were instructed to cherry-pick customer information from XL’s quarterly
       performance reports in order to exaggerate the technology’s effectiveness, while
       blaming inadequate MPG savings on the customers’ drivers. Similar to the fuel
       efficiency exaggeration, XL appears to routinely pad ROI calculations to
       prospective customers. We believe that XL inflates ROIs primarily by using

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unrealistically high gas prices and vehicle service life. We believe that the actual
ROI XL’s customers generate on average is NEGATIVE.

                                         ***

WE UNDERSTAND THAT FLEET-WIDE SAVINGS ARE GENERALLY
ONLY 5% to 10%, AND ARE SOMETIMES NEGATIVE

Reality seems to fall well short of what XL claims. We understand that fleets
generally received only 5- 10% MPG efficiency gains and negative ROI.

“Their numbers are based upon a bare-boned F-150 on a dyno [dynamometer] in
optimal, optimal circumstances, but the second you add weight or a passenger or
human error to that, it all goes out the window.” – Former XL Employee A

“The things that it doesn’t cover is climbing hills; the simulation is all flat... Every
time you take a turn, you’re expending energy to make that turn. Those are real-
world situations it doesn’t simulate.” – Former XL Employee F

“If you were in the exact drive cycle that was optimal for those vehicles, a city drive
cycle with very much stop and go and little idling, you did get 25%. But that drive
cycle was applicable to probably 15% of vehicles that they installed systems on. If
you were purchasing a system and weren’t in that city drive cycle, your savings
were ... Probably between 5 - 10%... definitely not 25%.” – Former XL Employee
I

“It’s like a Formula One circuit; you’re cornering these turns and trying to
optimize the levels of throttle and brake. You try to make sure during your throttle
up that you take as much power from the hybrid battery pack as possible. You start
this drive when a full battery... A lot of the parameters don’t really match what
you’d see in a real road scenario.” – Former XL Employee G

XL’S PLUG-IN HYBRID ALSO SIGNIFICANTLY UNDERPERFORMS XL’S
EFFICIENCY CLAIMS

XL’s underperformance applies not only to its conventional hybrid product, but
extends to its newer plugin hybrid as well.

“The [plug-in hybrid] ones they did have out, they claimed a 50% increase in miles
per gallon, the most any of them got were 35-40%.... average was 25-35%.” –
Former XL Employee B

“Never would you come across 50% on the plug-in... The 50%, it’s insane that it’s
advertised... You might see a decrease in MPG because you’re adding 800 pounds
of batteries to the back of an F-150 and expecting it to achieve performance.” –
Former XL Employee A

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       XL CHERRY-PICKED DATA AND BLAMED MPG MISSES ON DRIVERS

       We found that XL encouraged its employees to present a highly manipulated set of
       metrics to customers to demonstrate MPG savings; or, barring that, XL employees
       blamed fleet drivers for not understanding the technology.

       “I gave dozens of... presentations to fleet managers, generated out of XL Link, the
       onboard telematics system in each vehicle with XL technology. What this report
       indicates, is either no improvement in MPG, slight improvement in MPG, or a loss
       of overall MPG. Keep in mind these kits are $25,000 each, add 750 lbs of curb
       weight, and take up very valuable bed space, and advertise up to 50% improvement.
       I would highlight their drivers’ errors, such as idle time, driving over the ideal
       speed, and aggressive acceleration habits, just to assign blame elsewhere for no
       improvement in MPG. I would also falsify their fuel cost per gallon, behind what’s
       visible to the customer, to try and prove some ROI.” — XL Former Employee A

       “My customers that had the system wanted access to XL Link. But... salespeople
       had to give them presentations because they tried to pretty it up to avoid, “Hey,
       you’re only getting another mile per gallon and it’s not what we promised.” They
       would never let the customer have access to the raw data on that: we had to put it
       into a presentation to give to them.” — Former XL Employee B. [Emphases in
       original].

       243.   Muddy Waters also claimed that XL has “weak technology” and that “XL’s

announcement of future class 7-8 upfits seems highly promotional” because the task is “too

technologically complex for XL engineers to deliver on the promised timeline.” The report stated:

       XL LACKS THE SUPPLY CHAIN AND PROPRIETARY TECHNOLOGY FOR
       EFFECTIVE FULL ELECTRIFICATION

       Since XL has outsourced the manufacturing of almost all its components, this
       seemingly makes it substantially more difficult for it to design full-EV upfits, which
       are more complicated and costly.

       “XL was not vertically integrated at all, most everything was outsourced, so, it'd
       be very difficult for me to see them having the core competencies to develop a full
       EV... It’s not like XL is going to crack the code on that; many have tried and few
       have succeeded. I am very bearish on their ability to do that.” — Former XL
       Employee D

       “I think any company of that kind of size that’s not building full vehicles would
       have a hard time competing with Ford... if they had experience like Tesla did or
       something, that would be a different story.” – Former XL Employee F

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“There’s a lot of people making those moves [into EV] right now. There’s some
pretty fierce competition that will lead to some interesting tech. As an installer, I
think that’s good. Does XL have something of true value, a patent on something? I
can say, probably not... I don’t see a meaningful reason why XL will be around in
ten years. But in the meantime, they’re there and I use them.” – Current XL Upfitter

“One of their main flaws is the way the systems are assembled—they have all these
parts they hand assemble at a small facility in Illinois... It’s cute when Harvard is
in your backyard and you want to deliver them a van, but the process they have
right now is not scalable.” — Former XL Employee C

                                          ***

XL’S ANNOUNCEMENT OF FUTURE CLASS 7-8 UPFITS SEEMS HIGHLY
PROMOTIONAL

In its revenue projections, which we view as extremely aggressive, XL has stated
it intends to create hybrid and EV upfits for vehicles that are much heavier than the
ones it has historically serviced. This is a task that former employees described
flatly as too technologically complex for XL engineers to deliver on the promised
timeline, which starts as soon as late 2021:

“You need a large enough electric motor to help propel that vehicle, and for that,
you need a larger battery. Soon enough, the battery becomes heavier than the
vehicle... They really lose it in those plug-in pickup trucks. It works okay for the
[Ford] Transits because they’re lightweight anyway, but once you start getting to
your pickup trucks, any weight past the stock factory body, your numbers go to
shit.” – Former XL Employee A

“Electrification does get more difficult the larger the vehicle. It's not that the ability
isn't there, because the EV possesses a lot of torque, providing the ability to get the
weight moving. It's the amount of energy that is required to move that much weight.
That is why companies like Nikola are looking at hydrogen fuel cell technology
over straight electric.” – Former XL Employee B

“Electrification of semis is not a good choice today because you need a huge
battery with 600-800 kWh, which even at very, very low prices is approximately
100-150% of the base cost of a Class 8 truck.” – EV Industry Employee

XL’S EV/HYBRID GARBAGE TRUCK APPEARS TO BE A DISTRACTION
WITH LIMITED POTENTIAL

Despite the severe limitations of the XL platform, XL has announced it intends to
make hybrid and EV garbage trucks. We believe this announcement is promotional
rather than promising, since refuse trucks are some of the least suitable vehicles to

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       EV-upfit due to their immense weight and highly variable route lengths. [footnote
       omitted]

       “For garbage trucks, it will never work with the path they have to take and the
       payload they take... Refuse trucks are built for payload, because they want the truck
       to run as long as possible because of transfer station cost, mileage, etc. This means
       a truck with the same payload capacity has very different travel distances based on
       how long a route needs to be prior to full payload capacity... Refuse trucks have a
       lot more bells and whistles that will need electricity / power at all times, not just
       when the vehicle is moving. They include hydraulic systems, internal PLCs and
       controls, safety / camera equipment, etc.” – Former XL Employee G

       “I think they’re probably trying to find a niche. School buses are done [by
       competitors]. Box trucks are done.” – Former XL Employee A.

                        DUTIES OF THE DIRECTOR DEFENDANTS

       244.    By reason of their positions as officers and/or directors of the Company, and

because of their ability to control the business and corporate affairs of the Company, the Director

Defendants owed the Company and its investors the fiduciary obligations of trust, loyalty, and

good faith. The obligations required the Director Defendants to use their utmost abilities to control

and manage the Company in an honest and lawful manner. The Director Defendants were and are

required to act in furtherance of the best interests of the Company and its investors.

       245.    Each director of the Company owes to the Company and its investors the fiduciary

duty to exercise loyalty, good faith, and diligence in the administration of the affairs of the

Company and in the use and preservation of its property and assets. In addition, as officers and/or

directors of a publicly held company, the Director Defendants had a duty to promptly disseminate

accurate and truthful information regarding the Company’s operations, finances, and financial

condition, as well as present and future business prospects, so that the market price of the

Company’s stock would be based on truthful and accurate information.

       246.    To discharge their duties, the officers and directors of the Company were required

to exercise reasonable and prudent supervision over the management, policies, practices, and

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controls of the affairs of the Company. By virtue of such duties, the officers and directors of the

Company were required to, among other things:

               (a)         ensure that the Company complied with its legal obligations and

       requirements, including acting only within the scope of its legal authority and

       disseminating truthful and accurate statements to the SEC and the investing public;

               (b)         conduct the affairs of the Company in an efficient, businesslike manner

       so as to make it possible to provide the highest quality performance of its business, to avoid

       wasting the Company’s assets, and to maximize the value of the Company’s stock;

               (c)         properly and accurately guide investors and analysts as to the true

       financial condition of the Company at any given time, including making accurate

       statements about the Company’s business prospects, and ensuring that the Company

       maintained an adequate system of financial controls such that the Company’s financial

       reporting would be true and accurate at all times;

               (d)         remain informed as to how the Company conducted its operations, and,

       upon receipt of notice or information of imprudent or unsound conditions or practices,

       make reasonable inquiries in connection therewith, take steps to correct such conditions or

       practices, and make such disclosures as necessary to comply with federal and state

       securities laws;

               (e)         ensure that the Company was operated in a diligent, honest, and

       prudent manner in compliance with all applicable federal, state and local laws, and rules

       and regulations; and

               (f)         ensure that all decisions were the product of independent business

       judgment and not the result of outside influences or entrenchment motives.



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       247.   Each Director Defendant, by virtue of his or her position as a director and/or officer,

owed to the Company and to its shareholders the fiduciary duties of loyalty, good faith, and the

exercise of due care and diligence in the management and administration of the affairs of the

Company, as well as in the use and preservation of its property and assets. The conduct of the

Director Defendants complained of herein involves a knowing and culpable violation of their

obligations as directors and officers of the Company, the absence of good faith on their part, and

a reckless disregard for their duties to the Company and its shareholders that the Director

Defendants were aware, or should have been aware, posed a risk of serious injury to the Company.

       248.   The Director Defendants breached their duties of loyalty and good faith by causing

the Company to issue false and misleading statements concerning the business results and

prospects of the Company. As a result, the Company has expended, and will continue to expend,

significant sums of money related to investigations and lawsuits.

                                     DEMAND REFUSED

       249.   On September 15, 2021, Plaintiff’s counsel sent Defendant Frodl a demand letter

requesting that the Board investigate and commence legal proceedings against certain former

and/or current directors, executive officers and agents of the Company for breach of fiduciary

duties and corporate waste. See Exhibit A attached hereto.

       250.   On October 20, 2021, Plaintiff’s counsel received a response from XL Fleet’s

counsel acknowledging that the Board received the September 15, 2021 demand letter and that the

Board had scheduled a meeting to discuss the allegations in the September 15, 2021 letter. See

Exhibit B attached hereto.

       251.   As of the filing of this complaint, Plaintiff’s counsel has not received further

communications from XL Fleet’s counsel regarding the September 15, 2021 letter.



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       252.   On February 17, 2022, the Honorable Lorna G. Schofield, District Court Judge of

the Southern District of New York, issued an Order (D.E. 97), denying the defendants’ motion to

dismiss in the Securities Class Action. Attached hereto as Exhibit C.

       253.   The Order (D.E. 97) in the Securities Class Action held:

       The Complaint alleges that five categories of statements by Defendants were false.
       At least one of these categories -- statements about XL Fleet’s sales pipeline and
       revenue projections -- is sufficiently alleged and warrants denial of the motion to
       dismiss. That category, but not the others, is discussed below. [See Order (D.E. 97)
       at 6]

                                               ***

       The Complaint alleges that the following statements regarding XL Fleet’s sales
       pipeline and revenue are misleading, as well as other statements on other topics. A
       September 18, 2020, press release issued by Pivotal and Hybrids, states that “XL
       has strong demand momentum with a $220 million 12-month sales pipeline and
       forecasted revenue of over $21 million in 2020 and $75 million in 2021.” On a
       September 18, 2020, call to discuss the merger between Pivotal and Hybrids,
       Kazarinoff stated “[w]e have a 12-month rolling sales pipeline of more than 220
       million dollars in potential new business opportunities.” The October 2, 2020,
       Registration Statement, which was signed by Ledecky, Brady and Griffin, and filed
       with the SEC, includes the $21 million and $75 million expected revenue figures.
       An October 26, 2020, press release, which was also attached to a Form 8-K signed
       by Ledecky and filed with the SEC, makes the same claims regarding XL Fleet’s
       sales pipeline and forecasted revenue. On an October 26, 2020, webinar, Kazarinoff
       announced a sales pipeline of over $240 million. On November 12, 2020, Pivotal
       filed an amendment to the October 2, 2020, Registration Statement, which states
       that XL management uses the sales and marketing team’s sales tracking data to
       create “projections about future aggregate sales pipeline opportunities.” The
       amendment also states that “XL management reviews its sales opportunity pipeline
       data and applies its historic conversion rates of sales pipeline and historical
       experience with respect to lead time to create revenue projections.” On November
       12, 2020, XL Fleet issued a press release, which was filed with the SEC by Pivotal,
       reverting to the $220 million 12-month sales pipeline figure. [id. at 7, 8]

       The Complaint alleges that these statements were misleading because they failed to
       disclose that XL Fleet’s pipeline was materially overstated due to data manipulation
       by XL management in the following ways. Piern regularly instructed employees to
       record sales opportunities without a reasonable basis, record inflated percentage
       likelihoods of sales and maintain pre-existing entries in the records after customers
       indicated that they would not order XL Fleet’s products. According to one former
       employee, in late 2019, Piern directed the employee to enter sales opportunities

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from companies after an initial general conversation that lacked detail to expect any
orders, and to enter sales opportunities even if the employee had not spoken to
anyone at the company recorded and regardless of whether those companies had
vehicles compatible with XL Fleet products. The Complaint alleges that another
former employee recounted being instructed by Piern in the third quarter of 2020
to record a sales opportunity for a single year, even though the customer had stated
that any purchase would be spread out over a multiple year period. The former
employee also stated that sales opportunities were recorded with a 25% likelihood
merely because XL Fleet transmitted pricing information to a customer, even if that
customer had not expressed interest. The former employee believes this
and other practices overstated the sales pipeline. The Complaint alleges that a third
former employee recounted that Piern artificially inflated the probability of sales
figures by altering the employee’s judgments of the likelihood of a sale from 25%
up to 75%. [id. at 8]

The aforementioned allegations sufficiently plead with particularity that the sales
pipeline and revenue figures were misleading. First, the Complaint alleges, with
particularity, facts showing that the pipeline figures were exaggerated and inflated
without sufficient basis. Second, the Complaint alleges that the statement
explaining the methodology for the pipeline and revenue forecasting, that it was
keyed to historical conversion rates, was misleading. Defendants’ arguments to the
contrary are unavailing. [id. at 8, 9]

                                        ***

The Complaint also alleges that XL Fleet stated that its revenue projections were
based on historical conversion rates, although they were actually based on
manipulated data. Further, one former employee states that she disclosed the
overstated sales pipeline to Pivotal’s attorneys during the diligence process for the
merger. [id. at 12]

These allegations make the inference that Defendants intentionally or recklessly
misled the behavior more compelling than an inference that Defendants acted non-
culpably. At the least, the November 12, 2020, statement that XL Fleet’s revenue
projections were based on historical conversion rates coupled with the multiple
alleged instances of projections based on manipulated data and the reporting of
manipulation by a former employee to Pivotal lawyers sufficiently alleges that the
defendants “knew facts or had access to information suggesting that their public
statements were not accurate,” Set. Cap. LLC, 996 F.3d at 79. [id. at 12]

The Complaint’s allegations that Pivotal directors, including Ledecky, Griffin and
Brady, were substantially involved in conducting due diligence into XL Fleet,
including its financial projections, supports a finding of conscious misbehavior or
recklessness as to those three individuals. The Complaint’s allegations that Piern
reported directly to Hynes and Kazarinoff, that they worked directly with Piern on
setting sales targets and projecting sales, and had intimate knowledge of XL Fleet’s

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          operations, including its sales projections, support a finding of scienter as to Hynes,
          Kazarinoff and Piern. [id. at 12].

          254.   The plaintiffs’ claims in the Securities Class Action have been sustained on a

motion to dismiss under the heighten pleading requirement under the Private Securities Litigation

Reform Act, but the Board has failed to act in response to Plaintiff’s September 15, 2021 demand

letter.

                                               COUNT I

              (Against Defendants Ledecky, Brady, Griffin, Hynes, Kazarinoff, and
              Piern for Violations of Sections 10(b) and 21D Of The Exchange Act)

          255.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

          256.   The Company, along with Defendants Ledecky, Brady, Griffin, Hynes, Kazarinoff,

and Piern are named as defendants in the Securities Class Action, which assert claims under the

federal securities laws for violations of Sections 10(b) and 20(a) of the Exchange Act, and SEC

Rule 10b-5 promulgated thereunder. If and when the Company is found liable in the Securities

Class Actions for these violations of law, the Company’s liability will be in whole or in part due

to Defendants Ledecky, Brady, Griffin, Hynes, Kazarinoff, and Piern’s willful and/or reckless

violations of their obligations as officers and directors of the Company.

          257.   Through their positions of control and authority as officers of the Company,

Defendants Ledecky, Brady, Griffin, Hynes, Kazarinoff, and Piern were able to and did, directly

and/or indirectly, exercise control over the business and corporate affairs of the Company,

including the wrongful acts described in the Securities Class Action and herein.

          258.   As such, Defendants Ledecky, Brady, Griffin, Hynes, Kazarinoff, and Piern are

liable under 15 U.S.C. § 78j(b), which creates a private right of action for contribution, and Section



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21D of the Exchange Act, 15 U.S.C. § 78u-4(f), which governs the application of a private right

of action for contribution arising out of violations of the Exchange Act.

                                            COUNT II

              (Against the Individual Defendants for Breach of Fiduciary Duty)

       259.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       260.    The Individual Defendants owed the Company fiduciary obligations. By reason of

their fiduciary relationships, the Individual Defendants owed the Company the highest obligation

of good faith, fair dealing, loyalty, and due care.

       261.    The Individual Defendants violated and breached their fiduciary duties of care,

loyalty, reasonable inquiry, and good faith.

       262.    The Individual Defendants engaged in a sustained and systematic failure to properly

exercise their fiduciary duties. Among other things, the Individual Defendants breached their

fiduciary duties of loyalty and good faith by permitting the use of inadequate practices and

procedures to estimate its reserves set aside for annuity and pension payments, allowing or

permitting false and misleading statements to be disseminated in the Company’s SEC filings and

other disclosures and, otherwise failing to ensure that adequate internal controls were in place

regarding the serious business reporting issues and deficiencies described above. These actions

could not have been a good faith exercise of prudent business judgment to protect and promote the

Company’s corporate interests.

       263.    As a direct and proximate result of the Individual Defendants’ failure to perform

their fiduciary obligations, the Company has sustained significant damages. As a result of the

misconduct alleged herein, the Individual Defendants are liable to the Company.



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        264.    As a direct and proximate result of the Individual Defendants’ breach of their

fiduciary duties, the Company has suffered damage, not only monetarily, but also to its corporate

image and goodwill. Such damage includes, among other things, costs associated with defending

and/or settling securities lawsuits and governmental investigations, severe damage to the share

price of the Company’s stock, resulting in an increased cost of capital, and reputational harm.

        265.    Plaintiff, on behalf of the Company, has no adequate remedy at law.

                                             COUNT III

               (Against the Individual Defendants for Waste of Corporate Assets)

        266.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

        267.    The wrongful conduct alleged regarding the issuance of false and misleading

statements was continuous, connected, and on-going throughout the Relevant Period. It resulted

in continuous, connected, and ongoing harm to the Company.

        268.    As a result of the misconduct described above, the Individual Defendants wasted

corporate assets by, inter alia: (a) paying excessive compensation, bonuses, and termination

payments to certain of its executive officers; (b) awarding self-interested stock options to certain

officers and directors; and (c) incurring potentially millions of dollars of legal liability and/or legal

costs to defend and/or settle actions addressing the Individual Defendants’ unlawful actions.

        269.    As a result of the waste of corporate assets, the Individual Defendants are liable to

the Company.

        270.    Plaintiff, on behalf of the Company, has no adequate remedy at law.

                                             COUNT IV

                 (Against The Individual Defendants For Unjust Enrichment)



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       271.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       272.    During the Relevant Period, the Individual Defendants received bonuses, stock

options, and/or similar such compensation from the Company that were tied to the financial

performance of the Company. The Individual Defendants were unjustly enriched thereby.

       273.    To remedy the Individual Defendants’ unjust enrichment, this Court should order

them to disgorge their unjustly obtained bonuses and compensation.

       274.    The acts and omissions of the Individual Defendants complained of in this Count

have been undertaken willfully, knowingly, and maliciously, and/or with reckless disregard for

their respective civil obligations, and accordingly the Company is entitled to recover punitive

damages with respect to this Count.

       275.    Plaintiff, on behalf of the Company, has no adequate remedy at law.

                                            COUNT V

                  (Against The Individual Defendants for Abuse of Control)

       276.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       277.    The Individual Defendants’ misconduct alleged herein constituted an abuse of their

ability to control and influence the Company, for which they are legally responsible.

       278.    As a direct and proximate result of the Individual Defendants’ abuse of control, the

Company has sustained significant damages. As a direct and proximate result of the Individual

Defendants’ breaches of their fiduciary obligations of candor, good faith, and loyalty, the

Company has sustained and continues to sustain significant damages. As a result of the misconduct

alleged herein, the Individual Defendants are liable to the Company.



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       279.   The acts and omissions of the Individual Defendants complained of in this Count

have been undertaken willfully, knowingly, and maliciously, and/or with reckless disregard for

their respective civil obligations, and accordingly the Company is entitled to recover punitive

damages with respect to this Count.

       280.   Plaintiff, on behalf of the Company, has no adequate remedy at law.

                                   REQUEST FOR RELIEF

WHEREFORE, Plaintiff demands judgment as follows:

       A.     Against all Defendants and in favor of the Company for the amount of damages

sustained by the Company as a result of the Individual Defendants’ breaches of fiduciary duties;

       B.     Directing the Company to take all necessary actions to reform and improve its

corporate governance and internal procedures to comply with applicable laws and to protect the

Company and its shareholders from a repeat of the damaging events described herein, including,

but not limited to, putting forward for shareholder vote resolutions for amendments to the

Company’s By-Laws or Articles of Incorporation and taking such other action as may be necessary

to place before shareholders for a vote a proposal to strengthen the Board’s supervision of

operations and develop and implement procedures for greater shareholder input into the policies

and guidelines of the Board;

       C.     Awarding to the Company restitution from the Individual Defendants, and each of

them, and ordering disgorgement of all profits, benefits and other compensation obtained by the

Individual Defendants;

       D.     Awarding to Plaintiff the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

       E.     Granting such other and further relief as the Court deems just and proper.



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                               DEMAND FOR TRIAL BY JURY

       Plaintiff demands a trial by jury on all issues so triable.

Dated: June 22, 2022


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